                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DMSION
                                  No. 4:23-CV-193-D


RODNEY D. PIERCE and                            )
MOSES MATTHEWS,                                 )
                                                )
                              Plaintiffs,       )
                                                )
                      v.                        )               ORDER
                                                )
THE NORTH CAROLINA STATE                        )
BOARD OF ELECTIONS, et al.,                     )
                                                )
                               Defendants.      )


        "Racial classifications with respect to voting carry particular dangers." Shaw v. Reno, 509

U.S. 630, 657 (1993) ("Shaw r'). "Racial gerrymandering, even for remedial purposes, may

halkani:re us into competing racial factions ...." Id. "[I]t threatens to carry us further from the goal

of a political system in which race no longer matters-a goal that the Fourteenth and Fifteenth

Amendments embody, and to which the Nation continues to aspire." Id. Thus, ''race-based

districting by our state legislatures demands close judicial scrutiny." Id

       This case does not involve the North Carolina General Assembly engaging in race-based

districting. Indeed, the record demonstrates that when the General Assembly created the Senate

districts in North Carolina Senate Bill 758 ("SB 758") in October 2023 for use in the 2024 elections,

the General Assembly did not have racial data in the computer. The General Assembly did not have

racial data in the computer in 2023, in part, because federal litigation from 2011 to 2016 helped to

show that there was not legally significant racially polarized voting in North Carolina, including in

the counties in northeast North Carolina at issue in this case. See Covington v. North Carolina, 316




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F.R.D. 117, 124, 128, 142-65, 167-74 (M.D.N.C. 2016) (three-judge court), aff'g, 581 U.S. 1015

(2017); Hams v. McCrory, 159 F. Supp. 3d 600, 624-25 (M.D.N.C. 2016) (three-judge court), aff'd

sub nom. Cooper v. Hams, 581 U.S. 285 (2017).

       This case involves two plaintiffs who contend that the General Assembly violated Section

2 of the Voting Rights Act of 1965 by not engaging in race-based districting and not creating a

racially gerrymandered majority-black Senate district in northeast North Carolina. See Am. Compl.

[D.E. 13] ff 4, 5, 84-98. On November 20, 2023, plaintiffs filed suit. On November 22, 2023,

plaintiffs moved for the extraordinary remedy ofamandatorypreHminary injunction. In their motion

for a preliminary injunction, plaintiffs ask the court to enjoin the use of SB 758 in the 2024 Senate

elections and mandate the creation ofremedial Senate districts in North Carolina (including a racially

gerrymandered majority-black Senate district in northeast North Carolina). Plaintiffs make this

extraordinary request even though (1) the 2024 Senate elections are underway in North Carolina, (2)

plaintiffs presented no evidence that anyone provided the General Assembly in 2023 a strong basis

in evidence to believe that Section 2 required the General Assembly to create a majority-black Senate

district in northeast North Carolina, and (3) insufficient evidence shows that Section 2 requires a

majority-black Senate district in northeast North Carolina.

       The Supreme Court has described "sort[ing] voters on the basis of race" as "odious." Wis.

Legislature v. Wis. Elections Comm'n, 595 U.S. 398,401 (2022) (per curiam.). The Supreme Court

has assumed that complying with Section 2 of the VRA is a compelling state interest that permits

the ''race-based sorting of voters" where such sorting "is narrowly tailored to comply with the"

Voting Rights Act. Id.

       Plaintiffs have failed to demonstrate that Section 2 of the Voting Rights Act requires an

extraordinary, mandatory preUminary injunction compelling the race-based sorting of voters for the

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2024 Senate elections in North Carolina. On the current record, plaintiffs are not likely to succeed ,

on the merits of their Section 2 claim and are not likely to suffer irreparable harm absent the

requested extraordinary, mandatory preHminary injunction. Moreover, the balance ofhardships does

not tip in plaintiffs' favor, and the requested mandatory preHminary injunction is not in the public

interest. In fact, the requested injunction would constitute a textbook violation of Purcell v.

Gonz.a.lez, 549 U.S. 1, 4-6 (2006) (per curiam), and its progeny. The 2024 Senate elections in North

Carolina are underway. Absentee ballots are in the mail. Purcell teaches that a federal court in a

case involving state elections should not enjoin a state redistricting plan ''just weeks before an

election," much less enjoin an ongoing state election. Id. at 4. Such federal injunctions result in

voter confusion and chaos and are not warranted especially where the facts in the case are "hotly

contested." Id. at 4-5. The court declines plaintiffs' invitation to issue the requested extraordinary,

mandatory preJiminary injunction and thereby inflict voter confusion and chaos on the 2024 Senate

elections in North Carolina. Thus, the court denies plaintiffs' motion for a preliminary injunction.

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                                                  A.

       On November 20, 2023, Rodney D. Pierce ("Pierce") and Moses Matthews ("Matthews")

(collectively ''plaintiffs'') filed a complaint against the North Carolina State Board of Elections and

its five members in their official capacities (collectively ''the Board defendants"), Philip E. Berger

in his official capacity as President pro tempore of the North Carolina Senate ("Berger"), and

Timothy K. Moore in his official capacity as Speaker ofthe North Carolina House ofRepresentatives

("Moore") (collectively ''the legislative defendants") alleging that SB 758, which establishes new

state Senate districts for North Carolina, violates Section 2 of the Voting Rights Act ("VRA") of

1965, codified at 52 U.S.C. § 10301 ("Section2") [D.E. 1]. Plaintiffs ask the court to (1) "[d]eclare

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that SB 758 violates Section 2 of the Voting Rights Act;" (2) "[g]rant preUminary and permanent

injunctive relief barring Defendants ... from enforcing or giving any effect to the boundaries of

Senate Districts 1 and 2 as drawn in SB 758, including barring Defendants from conducting any

Senate elections using those district boundaries;" (3) "[t]ake actions necessary to order the adoption

of a valid state Senate plan that includes a minority opportunity district in northeastern North

Carolina, while leaving intact the current district comprised ofPitt and Edgecombe Counties, in time

to use the remedial plan in the 2024 Senate elections (and, as part of the remedial order, waive the

one-year residency requirement for candidates under N.C. Const. art. II, § 6, for newly drawn

remedial districts);" and (4) "[g]rant such other or further relief the [c]ourt deems appropriate,

including but not limited to an award of Plaintiffs' attorneys' fees and reasonable costs." Id. at 21.

       On November 22, 2023, plaintiffs filed an amended complaint [D.E. 13], moved to enjoin

SB 758 [D.E. 16], filed a memorandum in support [D.E. 17], and filed expert reports totaling 406

pages [D.E. 17-1, 17-2, 17-3]. On December 22, 2023, the legislative defendants responded in

opposition to plaintiffs' motion for a preUminary injunction [D.E. 39] and filed exhibits (including

expert reports) totaling 340 pages [D.E. 39-1 to 39-8]. On December 22, 2023, the Board defendants

informed the court of their schedule concerning the 2024 North Carolina elections and took no

position on plaintiffs' motion for a preUrninary injunction [D.E. 40, 41]. On December 26, 2023,

plaintiffs replied [D.E. 42]. On December 29, 2023, the court scheduled a hearing on plaintiffs'

motion for a preUminary injunction for January 10, 2024 [D.E. 43].

       On December 29, 2023, plaintiffs filed an interlocutory appeal and argued that the court's

decision to schedule a hearing constituted a de facto denial of their motion [D.E. 44]. On January

9, 2024, the United States Court ofAppeals for the Fourth Circuit dismissed plaintiffs' appeal [D.E.

50] but did not issue the mandate. See [D.E. 51]. Thus, jurisdiction did not return to this court.

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Nonetheless, on January 10, 2024, with the parties' consent, the court held its scheduled hearing on

plaintiffs' motion for a preHminary injunction [D.E. 53].

       On January 12, 2024, plaintiffs submitted a supplemental declaration from Dr. Matthew

Barreto ("Dr. Barreto"). See [D.E. 55-1]. On January 16, 2024, the Fourth Circuit issued its

mandate and jurisdiction returned to this court. See [D.E. 56]. On January 17, 2024, the court

permitted defendants to respond to plaintiffs' supplemental information from Dr. Barreto. See [D.E.

57]. On January 19, 2024, the legislative defendants answered the amended complaint. See [D.E.

58]. On January 22, 2024, the legislative defendants submitted a response to Dr. Barreto's

supplemental declaration. See [D.E. 60].

                                                 B.
       Pierce is a black voter who resides in Halifax County, North Carolina. See Am. Compl. ,r

11. Matthews is a black voter who resides in Martin County, North Carolina. See id. at ,r 12. Bertie,

Hertford, Edgecombe, Northampton, and Halifax Counties have majority-black voting age

populations. See id. at ,r 37. Vance, Warren, Martin, and Washington Counties have black voting

age populations exceeding 40 percent. See id. Gates and Chowan Counties have black voting age

populations between 31 and 32 percent. See id.

       On October 25, 2023, the North Carolina General Assembly enacted SB 758, which

establishes new state Senate districts for North Carolina. See id. at ,r,r 1-2. In SB 758, Senate

District 1 ("SDI") contains Northampton, Hertford, Bertie, Gates, Perquimans, Pasquotank, Camden,

Currituck, Tyrrell, and Dare Counties. See id. at ,r 44. Senate District 2 ("SD2") contains Warren,

Halifax, Martin, Chowan, Washington, Hyde, Pamlico, and Carteret Counties. See id. Senate

District 5 includes Edgecombe and Pitt Counties. See id. Senate District 11 includes Vance,

Franklin, and Nash Counties. See id.

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        Plaintiffs allege that the electoral boundaries in northeast North Carolina dilute black voters'

votes in violation of Section 2. See id. at ,r,r 84-98. Plaintiffs contend that Section 2 requires a

majority-black Senate district in northeast North Carolina. See id. Thus, plaintiffs contend that the

General Assembly violated Section 2 when it enacted SB 758 without a majority-black Senate

district in northeast North Carolina. See id. at ,r,r 1, 2, 84-98; [D.E. 17] 26, 30.

        Section 2 does not require the General Assembly to employ ''race-based districting'' unless

the General Assembly has "a strong basis in evidence for concluding that" Section 2 required such

race-based districting. Cooper v. Harris, 581 U.S. 285, 292-93 (2017) (quotation omitted); see Ala.

Legis. Black Caucus v. Alabmrub 575 U.S. 254,278 (2015). Without a contemporaneous strong

basis in evidence in 2023 that Section 2 required the General Assembly to create a VRA district by

grouping citizens by race in order to form a majority-black Senate district, the General Assembly

would have violated the Fourteenth Amendment. See, e.g.. Abbott v. Perez, 138 S. Ct. 2305, 2315

(2018); Cooper, 581 U.S. at322-23; Shawv. Hunt 517U.S. 899, 907--09 (1996) ("Shawll'');Miller

v. Johnson, 515 U.S. 900, 927-28 (1995); Covingtou, 316 F.RD. at 178. Section 2 does not require

crossover districts. See Bartlett v. Strickland, 556 U.S. 1, 23 (2009) (principal opinion). Thus, in

order for Section 2 to have required the General Assembly to create a majority-black Senate district

in northeast North Carolina, the legislative record in 2023 must contain a strong basis in evidence

for such remedial action before the General Assembly enacted SB 758. See Cooper, 581 U.S. at 304

("To have a strong basis in evidence to conclude that § 2 demands ... race-based steps, the State

must carefully evaluate whether a plaintiff could establish the Gingles preconditions . . . . We see

nothing in the legislative record that fits that description."). 1



        1
            See Thornburg v. Gingles, 478 U.S. 30 (1986).

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        For example, on October 19, 2021, the American Civil Liberties Union, ACLU ofAlabama,

NAACP Legal Defense and Educational Fund ("LDF''), Alabama State Conference of the NAACP,

and Greater Birmingham Ministries sent a letter to the members of the Alabama Legislative

Reapportionment Committee detailing Section 2's requirements and how the Gingles factors

required two majority-black congressional districts in Alabama. See Milligan v. All~ No. 2:21-cv-

1530 (N.D. Ala. Dec. 7, 2021), [D.E. 53] ft 86-87. The letter noted that "a Congressional

redistricting plan that includes only one majority-minority district likely violates the Voting Rights

Act." LDF et al., Re: Duty to Comply with the U.S. Constitution and Voting Rights Act in

Alabama's Redistricting Process 4, available athttps://www.aclualabama.org/en/press-releases/civil

-rights-groups-send-letter-legislature-ahead-redistricting-special-session (last visited Jan. 25, 2024).

Alabama ultimately enacted a congressional redistricting plan that included just one majority-black

congressional congressional district. See Singleton v. Merrill, 582 F. Supp. 3d 924, 935 (N.D. Ala.

2022) (three-judge court) (per curiam), aff'd sub nom. Allen v. Millig~ 599 U.S. 1 (2023). In

Sing]eton, after an extensive preHminary injunction hearing, the three-judge court held that the

plaintiffs were "likely to establish that [Alabama's redistricting plan] violates Section Two of the

Voting Rights Act." Id. at 936. The Supreme Court affirmed. See Millig~ 599 U.S. at 9-10.

       Absent a contemporaneous strong basis in evidence, the General Assembly would have

committed the same mistake in 2023 that it did in Covington in 2011 when it created numerous

majority-black House and Senate districts and in Harris in 2011 when it created two majority-black

Congressional districts without a strong basis in evidence that Section 2 required the General

Assembly to group citizens by race and to create such majority-black districts. See Covington, 316

F .R.D. at 124, 128, 142--65, 167-74; Harris, 159 F. Supp. 3d at 624-25. Instead ofmaking that same

mistake in 2023, the General Assembly did not have race in the computer when it created the Senate,

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House, and Congressional redistricting plans in 2023. See [D.E. 39-5] 4-5. Thus, in 2023, the

General Assembly did not sort any citizens by race. See id.

        As for SDl and SD2 in particular, the General Assembly considered the North Carolina

Constitution's Whole County Provision, communities of interest, and traditional redistricting

principles in creating SD 1 and SD2. SD 1 kept together four ofNorth Carolina's five finger counties.

See [D.E. 39-5] 8. Moreover, many SDl residents in these counties ''work or travel frequently to

the Virginia Tidewater'' region. Id. Furthermore, seven of SD 1's ten counties and 81 % of SD 1's

population are in the Norfolk, Virginia media market. See id. at 8--9. SD2 follows the Roanoke

River from Warren County to Washington County. See id at 9. Five of SD2's eight counties are

in the Greenville, North Carolina media market. See id. And, SDl and SD2 both include their

respective incumbent senator's residence. See id. at 9-10.

       Plaintiffs cite no evidence that anyone submitted information to the General Assembly before

the General Assembly enacted SB 758 in 2023 that Section 2 required a majority-black Senate

district in northeast North Carolina. Cf. [D.E. 39] 10 & n.4. Unlike, for example, in Milligatl, where

the NAACP notified the Alabama legislature that it would violate Section 2 if it did not create two

majority-black congressional districts, plaintiffs cite no evidence that they or anyone else submitted

comparable information to the General Assembly before it enacted SB 758 in October 2023.

       Before the General Assembly enacted SB 758 in October 2023, the General Assembly held

public hearings throughout North Carolina, including one in Elizabeth City in northeast North

Carolina, to gather public input on the proposed Senate districts. See [D.E. 39] 9. The General

Assembly also accepted public comments through an online portal on the General Assembly's

website. See [D.E. 39-4] 3. Moreover, before the General Assembly enacted SB 758 in October

2023, the Senate Redistricting and Elections Committee Co-Chairman, Senator Ralph Hise ("Senator

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Hise"), recognized that "in order for the predominant use of race to be justified under Section 2,

there must be a strong basis in evidence of three Ging]es conditions" and ''the use of race to draw

districts must also be supported by the totality of the circumstances." [D.E. 39-5] 4. Senator Hise

observed that court decisions "demonstrate that to this point nowhere in North Carolina can anyone

provide evidence ofthe three Gingles preconditions." Id. Senator Hise stated that ''the chairs elected

not to use race in drawing these proposed [Senate] districts [in SB 758] strictly to protect the state

from lawsuits alleging illegal racial gerrymandering." Id.

        After the Senate prepared SB 758 without racial data in the computer and before the General

Assembly enacted SB 758, Senator Hise then directed the General Assembly's central staff''to load

racial data into the Maptitude software" for the first time and "make that information publicly

available on the General Assembly website as soon as possible." Id. at 5. Senator Hise noted that

the Senate Redistricting and Elections Committee would meet again the following week to "consider

any evidence that a member of this committee or a third party advocating altering plans for racial

reasons brings forth that provides a strong basis in evidence that the Gingles preconditions are

present in a particular area of the state." Id. at 5--6. "Only then [would] the chairs consider using

race in amending the districts to protect the state from liability under Section 2 ofthe Voting Rights

Act." Id. at 6.

       Despite Senator Hise' s invitation, the Senate Redistricting and Elections Committee did not

receive any evidence that the three Gingles preconditions could be satisfied anywhere in North

Carolina. See [D.E. 39] 10 n.4. The Southern Coalition for Social Justice "asked that the county

grouping for SD 1 and 2 be changed to the alternate county grouping used in 2022" but "did not

request any majority-minority districts." Id.



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        The need for plaintiffs to cite a strong basis in evidence when the General Assembly enacted

SB 758 in October 2023 for concluding that Section 2 required a majority-black Senate district in

order to get their requested mandatory preJiminary injunction for the 2024 Senate elections finds

support "in the need for workable standards and sound judicial and legislative administration" and

the standard needed to get the requested injunction. Strickland, 556 U.S. at 17; see Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (describing standard needed for a preJiminary

injunction); Inre Microsoft Corp. AntitrustLitig., 333 F.3d 517, 525-26 (4th Cir. 2003) (describing

preJiminary showing needed for a federal court to consider issuing a mandatory preJiminary

injunction).   Nonetheless, plaintiffs now allege a Section 2 violation without citing a

contemporaneous strong basis in evidence in front ofthe General Assembly in2023 before it enacted

SB 758. Plaintiffs also propose a remedial redistricting plan for the 2024 Senate elections that

creates a majority-black Senate district by altering the boundaries of SD 1 and SD2 to group Warren,

Halifax, Martin, Bertie, Chowan, Northampton, Hertford, Gates, and a portion of Pasquotank

Counties within the same Senate district and to group Camden, Currituck, Dare, Tyrrell,

Wasbingt:on, Hyde, Pamlico, Carteret, and a portion of Pasquotank Counties in another Senate

district. See Am. Compl. ,r 48.

       Plaintiffs make this extraordinary request notwithstanding the findings in Covington and

Harris concerning the absence oflegally significant racially polarized voting in North Carolina. See

Covington, 316 F.R.D. at 124, 128, 142-65, 167-74; Harris, 159 F. Supp. 3d at 624-25. Plaintiffs

also make this extraordinary request even though the 2003 Senate redistricting plan did not have any

majority-black Senate districts, yet black Senators were regularly elected in North Carolina

(including in northeast North Carolina). See Covington, 316 F.RD. at 126. Likewise, although the

General Assembly enacted ten majority-black Senate districts in the 2011 redistricting cycle and

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justified them in part on Section 2 and Section S of the VRA, the Covington. court held that the

.General Assembly lacked a s1rong basis in evidence for race-based districting due to the absence of

a s1rong basis in evidence to believe that legally significant racially polarized voting existed in North

Carolina. See id. at 167-76. The remedial Senate districting plan after Covington included no

majority-black Senate districts. See Covington v. North CaroJ.imb No. 1:lS-CV-399, [D.E. 184-6]

22, [D.E. 220] 22, 33, 36, [D.E. 242] 2 (M.D.N.C. Jan. 21, 2018). Moreover, in the November 2022

Senate elections, North Carolina citizens elected nine black Senators out of SO Senators, including

a black Senator from Edgecombe and Pitt Counties. See N.C. Gen. Assembly, North Carolina

Senators, https://www.ncleg.gov/Mem.bers/MemberList/S (lastvisitedJan. 25, 2024). Edgecombe

and Pitt Counties are in northeast North Carolina. Plaintiffs have presented no evidence that black

Senators were not elected under the Covington remedial Senate districting plan and no evidence that

any of the nine black Senators who were elected in November 2022 were elected from Senate

districts co11taining a majority black voting age population.

                                                   II.

       Redistricting "is primarily the duty and responsibility of the State," and "[t]ederal-court

review of districting legislation represents a serious intrusion on the most vital oflocal functions."

Miller, SlS U.S. at 915 (cleaned up). The "good faith of [the] state legislature must be presumed."

Id. "Because the States do not derive their reapportionment authority from the Voting Rights Act,

but rather from independent provisions of state and federal law, the federal courts are bound to

respect the States' apportionment choices unless those choices contravene federal requirements."

Voinovich v. Qyilter, 507 U.S. 146, 156 (1993) (cleaned up).

       Section 2 places the burden of"proving an apportionment's invalidity squarely on plaintiffs'

shoulders." Id. at lSS. "Before courts can :find a violation of§ 2, ... they must conduct an intensely

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local appraisal ofthe electoral mechanism at issue, as well as a searching practical evaluation ofthe

past and present reality." Milligan, 599 U.S. at 19 (quotation omitted). "Courts cannot find§ 2

effects violations on the basis of uncertainty." Perez, 138 S. Ct. at 2333 (emphasis in original).

        "The court may issue a preUminary injunction only on notice to the adverse party." Fed. R.

Civ. P. 65(a)(l ). The notice requirement ensures the adverse party has "a fair opportunity to oppose

the application and to prepare for such opposition." Granny Goose Foods, Inc. v. Brotherhood of

Teamsters, 415 U.S. 423,432 n. 7 (1974). Rule 65 does not expressly require an evidentiary hearing

and oral argument. See FundamentalAdmin. Servs., LLC v. Anderson, Civ. No. 13-1708, 2015 WL

2340831, at *1 (D. Md May 13, 2015) (unpublished). Where the parties dispute facts, however,

hearings are "highly desirable," ifnot ''necessary," before a court resolves a motion for a preHminary

injunction. Aoude v. Mobil Oil Corp., 862 F.2d 890, 893 (1st Cir. 1988); see Rosario-Urdaz v.

Rivera-Hernandez, 350 F.3d 219, 223 (1st Cir. 2003); GlaxoSmithKline, LLC v. Brooks, No.

8:22-cv-364, 2022 WL 2916170, at *2 (D. Md. July 25, 2022) (unpublished).

       A preHminary injunction "is an extraordinary remedy." Winter, 555 U.S. at 24. "The

rationale behind a grant of a preUminary injunction has been explained as preserving the status quo

so that a court can render a meaningful decision after a trial on the merits." Hazardous Waste

Treatment Council v. South Carolina, 945 F.2d 781, 788 (4th Cir. 1991) (quotation omitted). A

mandatory preUminary injunction, however, "alter[s] the status quo." League of Women Voters of

N.C. v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014). "Mandatory preHminary injunctive

relief," which "goes well beyond simply maintaining the status quo pendente lite," is "disfavored,

and warranted only in the most extraordinary circumstances." Taylor v. Freeman, 34 F.3d 266,270

n.2 (4th Cir. 1994) (quotation omitted); see lnre Microsoft Corp. AntitrustLitig., 333 F.3d at 525.

"That is to say, a mandatory preHminary injunction must be necessary both to protect against

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irreparable harm in deteriorating circumstances created by the defendant and to preserve the court's

ability to enter ultimate relief on the merits of the same kind." Id. at 526. "If that need is not

presented, then a preJimjnary injunction should not be considered." Id. (emphasis added).

        Challenges to the process of state elections that come "immediately before or immediately

after the preparation and printing of ballots [are] particularly disruptive and costly for state

governments." Penyv. Judd,471 F.App'x219, 225 (4th Cir. 2012) (percuriam) (unpublished); see

Purcell, 549 U.S. at 4-6; Merrill v. Milligan, 142 S. Ct. 879, 879-82 (2022) (Kavanaugh, J.,

concurring). "[T]here must be a substantial regulation of elections if ... some sort of order, rather

than chaos, is to accompany the democratic processes." Anderson v. Celebrezze, 460 U.S. 780, 788

(1983) (quotation omitted). A federal court should be "loath to reach a result that would only

precipitate a more disorderly [election] process." ;eerty, 471 F. App'x at 225.

       In election cases, state actions "establish the status quo." Wise v. Circosta, 978 F.3d 93, 98

(4th Cir. 2020) (en bane). Thus, the General Assembly established the status quo when it enacted

SB 758 in October 2023 and the Board began the detailed process ofworking with North Carolina's

100 county boards of elections to assign voters to their correct Senate districts through geocoding,

generating and proofing ballots, coding voting machines, and traming election officials. Cf. [D.E.

41] ff 3-6 (declaration ofExecutive Director Karen Brinson Bell ofthe North Carolina State Board

of Elections).

       Mandatory preJimjnary injunctive relief is particularly extraordinary where plaintiffs seek a

remedial electoral districting plan which would "sort voters on the basis of race" because such

districting plans "are by their very nature odious." Wis. Legislature, 595 U.S. at 401 (quotation

omitted). Ofcourse, the Supreme Court has "assumed that complying with the VRA is a compelling

interest." Id. Nonetheless, the party seeking to use race as the prednmjnant factor to place voters

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in or out of a district bears ''the burden of showing that the design of that district withstands strict

scrutiny." Id. A party "can satisfy strict scrutiny if it proves that its race-based sorting of voters is

narrowly tailored to comply with the VRA." Id.

        If plaintiffs demonstrate the "need to protect the status quo and to prevent irreparable harm

during the pendency ofthe litigation to preserve the court's ability in the end to render a meaningful

judgment on the merits," then a district court may exercise its "discretion" and determine whether

plaintiffs have demonstrated the four requirements to obtain a preUminary injunction. In re

Microsoft Antitrust Litig., 333 F .3d at 526. Plaintiffs seeking a preHminary injunction must

"demonstrate that (1) they are likely to succeed on the merits, (2) they are likely to suffer irreparable

harm, (3) the balance ofhardships tips in their favor, and (4) the injunction is in the public interest."

Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013); see Winter, 555 U.S. at 20; Centro Te_peyac v.

Montgomery Cn1y., 722 F.3d 184, 188 (4th Cir. 2013) (en bane). Courts consider each factor

separately, and the movant must prove each factor "as articulated." Pashby, 709 F.3d at 320-21

(quotation omitted).

                                                  m.
                                                   A.

       Plaintiffs have failed to demonstrate the extraordinary circumstances needed for a mandatory

preUminary injunction. See In re Microsoft Antitrust Litig., 333 F .3d at 526; Taylor, 34 F.3d at 270

n.2. They have failed to demonstrate "a need to protect the status quo and to prevent irreparable

harm during the pendency of the litigation to render a meaningful judgment on the merits." In re

Microsoft Antitrust Litig., 333 F.3d at 526. Rather, plaintiffs wish to disrupt the status quo that

exists from the General Assembly enacting SB 758 in October 2023 and the 2024 North Carolina

Senate elections moving forward consistent with North Carolina law.

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       Notably, on December 15, 2023, candidate filing ended for the 2024 North Carolina primary

elections. See [D.E. 40] 1. On January 19, 2024, North Carolina's 100 county boards of elections

began distributing absentee ballots. See id. at 2. On February 15, 2024, in-person early voting

be~. See id. March 5, 2024, is primary election day. See id. at 1. Accordingly, absentee voting

throughout North Carolina already has begun. In-person early voting begins 20 days after the court

issues this order. Primary election day is just 39 days after the court issues this order.

       A mandatory preHminary injunction is not necessary to preserve the status quo and ''preserve

the court's ability in the end to render a meaningful judgment on the merits." In re Microsoft

Antitrust Litig., 333 F.3d at 526. Rather, after discovery and a trial on the merits, the court could

render a meaningful judgment concerning plaintiffs' Section 2 claim and grant relief for the 2026

Senate elections and beyond if plaintiffs were able to prove their Section 2 claim. Because plaintiffs

have failed to demonstrate the extraordinary circumstances needed for the court to consider issuing

the requested mandatory preHminary injunction, the court need not consider whether plaintiffs have

demonstrated the four requirements to obtain a preHminary injunction. See id.; Taylor, 34 F.3d at

270 n.2; AVX Corp. v. Coming Tnc., No. 5: 15-CV-543, 2020 WL 2527936, at *3-4 (E.D.N.C. May

18, 2020) (unpublished); Wheelihan v. Bingham, 345 F. Supp. 2d 550, 553-54 (M.D.N.C. 2004).

                                                 B.
       Alternatively, the court considers whether plaintiffs have demonstrated the four requirements

for a preHminary injunction. As for demonstrating a likelihood of success on the merits, Section 2

provides that no state may impose a ''voting qualification or prerequisite to voting or standard,

practice, or procedure ... in a manner which results, in a denial or abridgement of the right of any

citizen ofthe United States to vote on account ofrace or color." 52 U.S.C. § l030l(a). To establish .

a Section 2 violation, plaintiffs must demonstrate that, based on the totality of the circumstances,

                                                 15

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''the political processes leading to nomination or election in the State or political subdivision are not

equally open to participation by members of a [protected class] in that its members have less

opportunity than other members of the electorate to participate in the political process and to elect

representatives of their choice." Id.§ 1030l(b).

        Under Section 2, plaintiffs who allege impermissible vote dilution must demonstrate, first,

that their minority group is "sufficiently large and geographically compact to constitute a majority

in a reasonably configured district." Milligan, 599 U.S. at 18 (cleaned up). "A district will be

reasonably configured ... if it comports with traditional districting criteria, such as being contiguous

and reasonably compact" Id "Second, the minority group must be able to show that it is politically

cohesive." Ojng1es, 478 U.S. at 51. Third, plaintiffs must show that ''the white majority votes

sufficiently as a bloc to enable it~ .. usually to defeat the minority's preferred candidate." Id.; see

Millig~ 599 U.S. at 18. Courts refer to this third Gingles factor as ''racially polarized voting." See,

~ Covington, 316 F .R.D. at 167. "Finally, a plaintiff who demonstrates the three preconditions


must also show, under the totality of circumstances, that the political process is not equally open to

minority voters." Milligan, 599U.S. at 18 (quotation omitted); see Johnson v. De Grandy, 512 U.S.

997, 1011-12 (1994); C',ingles, 478 U.S. at 36-38.

                                                   C.
       As for the first Cring]es precondition, plaintiffs must prove their minority group (i.e., African-

Americans) "is sufficiently large and geographically compact to constitute a majority in a reasonably

configured district." Milligan., 599 U.S. at 18 (cleaned up); see Wis. Legislature, 595 U.S. at 402;

Gingles, 478 U.S. at 50. This precondition requires plaintiffs ''to establish that the minority has the

potential to elect a representative ofits own choice." Milligm 599 U.S. at 18 (quotation omitted);

see Strickland, 556 U.S. at 15-16; Growe v. Emison, 507 U.S. 25, 40-41 (1993). A minority group

                                                  16

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is "sufficiently large" ifplaintiffs show that their minority voting-age population exceeds SO percent.

See Strickland, SS6U.S. at 19-20; Hall v. Virgjnja, 38S F.3d421, 429-30 (4th Cir. 2004). Section

2 "does not require crossover districts," which are districts in which black voters are "not a majority

ofthe voting-age population" but "could get enough support from crossover [white] voters to elect''

the black voters' preferred candidate. Strickland, SS6 U.S. at 9, 23. "A district will be reasonably

configured ... ifit comports with traditional districting criteria ...." Milligan, S99 U.S. at 18; see

id.at43 (Kavanaugh,J.,concuning);Abram.sv.Johnson, S21 U.S. 74,91-92(1997). "[T]raditional

race-neutral districting principles" include "compactness, contiguity, respect for political

subdivisions or communities defined by actual shared interests, incumbency protection, and political

affiliation." Ala Legis. Black Caucus, S7S U.S. at 272 (cleaned up).

        Plaintiffs offer two demonstration districts that they contend meet the first Ging]es

precondition: Demonstration District A and Demonstration District B-1. See [D.E. 17] 1S-17.

Plaintiffs' expert Blakeman Esselstyn ("Esselstyn") drew these demonstration districts. See id.;

[D.E. 17-1] ff 33-37.

        Plaintiffs' Demonstration District A includes Vance, Warren, Halifax, Northampton,

Hertford, Bertie, Martin, and Wasbjngton Counties. See [D.E. 17-1] ,r 33. According to plaintiffs,

Demonstration District A has a S1.47% black voting-age population ("BVAP") and a S3.12% black

citizen voting-age population ("CVAP"). See id. at fig. 6, table 3. Plaintiffs rely on Demonstration

District A to meet the first Ging]es precondition. See [D.E.42] S ("Plaintiffs are not urging adoption

of Demonstration District A for use in any election-it is presented solely for illustrative purposes

to satisfy Gingles One."); [D.E. 17-1] ,r S2 (Esselstyn opining that "it is possible to create a majority-

Black State Senate district in northeastern North Carolina that splits no counties or VTDs and is in

accordance with other traditional redistricting principles").

                                                   17

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       Esselstyn also drew Demonstration Districts B-1 and B-2. Demonstration District B-1

contains Bertie, Chowan, Gates, Halifax, Hertford, M~ Northampton, and Warren Counties in

their entirety and a portion of Pasquotank County. See [D.E. 17-1] 135. According to plaintiffs,

Demonstration District B-1 has a 48.41 % BVAP and a 50.19% black CVAP. See id. at fig. 7, table

4. Plaintiffs' Demonstration Districts B-1 and B-2 are solely composed of the counties that

constitute SDI and SD2 in SB 758, but they split Pasquotank County and rearrange ~e counties

within SDI and SD2. See id. at 135; [D.E. 17] 16.

                                                1.

       The legislative defendants contend that Demonstration District A is not reasonably

configured in light ofNorth Carolina's Whole County Provisions ("WCP"). See [D.E. 39] 14-18.

Plaintiffs reply that ''the VRA trumps" the WCP. [D.E. 42] 4-5. Both parties chide the other for

"circular" logic. See [D.E. 39] 15; [D.E. 42] 5. The parties' dispute concerns how to interpret

Stephenson v. Bartl~ 355 N.C. 354, 562 S.E.2d 377 (2002) ("Stephenson I''), and Stephenson v.

Bartl~ 357 N.C. 301, 582 S.E.2d 247 (2003) ("Stephenson II").

                                               a.

       In Stephenson I, the Supreme Court of North Carolina analyzed the interplay between the

North Carolina Constitution and federal law in the apportionment of House and Senate districts in

North Carolina. The North Carolina Constitution specifically enumerates four limitations upon the

redistricting and reapportionment authority of the General Assembly in drawing Senate and House




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districts. See N.C. Const. art. II, §§ 3, 5.2 In Ste,phenson I, the Supreme Court of North Carolina

summarized them as follows:

       (1) Each Senator and Representative shall represent, as nearly as possible, an equal
       number of inhabitants.

       (2) Each senate and representative district shall at all times consist of contiguous
       territory.

       (3) No county shall be divided in the formation of a senate or representative district.

       (4) Once established, the senate and representative districts and apportionment of
       Senators and Representatives shall remain unaltered until the next decennial census
       of population taken by order of Congress.

Ste,phenson I, 355 N.C. at 362-63, 562 S.E.2d at 384; see N.C. Const. art. II, §§ 3, 5. The third

limitation is known as the Whole County Provision ("WCP"). Id. at 363, 562 S.E.2d at 384. The

Stephenson I court noted that federal law required the General Assembly to comply with (1) "one-

person, one-vote" principles requiring some measure ofpopulation equality between state legislative

districts as articulated in Baker v. Carr, 369 U.S. 186 (1962), and Reynolds v. Sims, 377 U.S. 533

(1964), and their progeny; and (2) the Voting Rights Act of 1965, including Section 2 of the VRA

and Section 5 of the VRA. See Ste,phenson I, 355 N.C. at 363-64, 562 S.E.2d at 384-85.3

       The Ste,phenson I court reviewed the significant historical roles of counties as political

subdivisions of the State of North Carolina. See id. at 364-66, 562 S.E.2d at 385-86. The

Ste,phenson I court described the "long-standing tradition of respecting county lines during the



       2
         The Governor ofNorth Carolina has no veto power under the North Carolina Constitution
concerning the redistricting and reapportionment of the General Assembly. See N.C. Const. art. II,
§ 22(5)(b}-{c).
       3
         Since ShelbyCountyv. Holder, 570U.S. 529,557 (2013),NorthCarolinaand the40North
Carolina counties previously covered under Section 5 need not comply with the coverage formula
in Section 5 of the VRA.

                                                 19

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redistricting process." Id. at 366, 562 S.E.2d at 386. The Stq>henson I court then reviewed the

development ofredistricting jurisprudence in North Carolina from 1965 to 1983. See id. at 366--68,

562 S.E.2d at 386-88. The Stephenson I court explained why the WCP remains enforceable

throughout North Carolina to the extent not preempted or otherwise superseded by federal law.

See id. at 369--72, 562 S.E.2d at 388-90. The Stq>henson I court observed that the North Carolina

Constitution's limitations ''upon redistricting and apportionment uphold what the United States

Supreme Court has termed traditional districting principles, including compactness, contiguity, and

respect for political subdivisions." Id. at 371,562 S.E.2d at 389 (cleaned up). The Stq,henson I

court noted the Supreme Court of the United States' observation that ''those criteria are important

not because they are constitutionally required-they are not-but because they are objective factors

that may serve to defeat a claim that a district has been gerrymandered on racial lines." Mk, 562

S.E.2d at 389 (quotation omitted). The Stq,henson I court then observed that ''the right ofthe people

ofthis State to legislative districts which do not divide counties is not absolute," but the WCP is not

''rendered a legal nullity if its beneficial purposes can be preserved consistent with federal law and

reconciled with other state constitutional guarantees." Mk, 562 S.E.2d at 389.

       The Stq,henson I court invalidated the 2001 House redistricting plan and the 2001 Senate

redistricting plan and held that ''the WCP remains valid and binding upon the General Assembly

during the redistricting and reapportionment process ... , except to the extent superseded by federal

law." Id. at 371, 562 S.E.2d at 390. The Stephenson I court held that where ''the primary purpose

ofthe WCP can be effected to a large degree without conflict with federal law, it should be adhered

to by the General Assembly to the maximum extent possible." Id. at 374, 562 S.E.2d at 391. The

Stq,henson I court observed that"[a]lthough no federal law has preempted this Court's authority to



                                                 20

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interpret the WCP as it applies statewide, we acknowledge that complete compliance with federal

law is the first priority before enforcing the WCP." Id. at 374 n.4, 562 S.E.2d at 391 n.4.

        The Ste_phenson I court then provided its remedial analysis. See id. at 375-86, 562 S.E.2d

at 392-98. As part ofthat analysis, the Ste_phenson I court held that the North Carolina Constitution

required single-member House and Senate districts. Id. at 382, 562 S.E.2d at 396. As for federal

law, the Ste_phenson I court observed that "operation of federal law does not preclude states from

recognizing traditional political subdivisions when drawing their legislative districts." Id. at 381,

562 S.E.2d at 396. Rather, federal law ''preempts the State Constitution only to the extent that the

WCP actually conflicts with the VRA and other federal requirements relating to state legislative

redistricting and reapportionment." ML, 562 S.E.2d at 396 (emphasis added).

        With.respect to reconciling the WCP, the rest ofthe North Carolina Constitution, and federal

law, the Ste_phenson I court held that ''the boundaries of single-member districts ... may not cross

county lines except as outlined" in Ste_phenson I. Id. at 382, 562 S.E.2d at 396. The Ste_phenson I

court directed the trial court to ensure that legislative districts "required by'' Section 2 or Section 5

of the VRA are ''formed prior to the creation ofnon-VRA districts." Id. at 383, 562 S.E.2d at

396--97.4 The Ste_phenson I court also instructed that "[t]o the maximum extent practicable, such

VRA districts shall also comply with the legal requirements of the WCP, as herein established for

all redistricting plans and districts throughout the State." ML, 562 S.E.2d at 397. As for the federal

one-person, one-vote requirement, "any deviation from the ideal population for a legislative district

shall be at or within plus or minus five percent." ML, 562 S.E.2d at 397.



       4
         The Ste_phensonI court then discussed Section 5 and non-retrogression. See id.., 562 S.E.2d
at 397. As mentioned, under Shelby County, the coverage formula in Section 5 no longer applies.
See Shelby Cney.• 570 U.S. at 557.

                                                  21

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        The Stephenson I court held that in counties having a census population "sufficient to support

the formation of one non-VRA legislative district falling at or within plus or minus five percent

deviation from the ideal population consistent with 'one-person, one-vote' requirements, the WCP

requires that the physical boundaries of any such non-VRA legislative district not cross or traverse

the exterior geographic line of any such county." Id., 562 S.E.2d at 397. The Stephenson I court also

held that:

       When two or more non-VRA legislative districts may be created within a single
       county, which districts fall at or within plus or minus five percent deviation from the
       ideal population consistent with "one-person, one-vote" requirements, single-member
       non-VRA districts shall be formed within said county. Such non-VRA districts shall
       be compact and shall not traverse the exterior geographic boundary of any such
       county.

Id., 562 S.E.2d at 397.

       As for "counties having a non-VRA population pool which cannot support at least one

legislative district at or within plus or minus five percent of the ideal population for a legislative

district or, alternatively, counties having a non-VRA population pool which, ifdivided into districts,

would not comply with the at or within plus or minus five percent 'one-person, one-vote' standard,"

then

       the requirements of the WCP are met by combining or grouping the minimum
       number ofwhole, contiguous counties necessary to comply with the at or within plus
       or minus five percent "one-person, one-vote" standard. Within any such contiguous
       multi-county grouping, compact districts shall be formed, consistent with the at or
       within plus or minus five percent standard, whose boundary lines do not cross or
       traverse the "exterior'' line ofthe multi-county grouping; provided, however, that the
       resulting interior county lines created by any such groupings may be crossed or
       traversed in the creation of districts within said multi-county grouping but only to the
       extent necessary to comply with the at or within plus or minus five percent "one-
       person, one-vote" standard.

Id. at 383-84, 562 S.E.2d at 397. The Stephenson I court emphasized that the "intent underlying the

WCP must be enforced to the maximum extent possible." Id. at 384, 562 S.E.2d at 397 (emphasis

                                                 22

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added). "[T]hus, only the smallest number of counties necessary to comply with the at or within plus

or minus five percent 'one-person, one-vote' standard sba11 be combin~ and communities of

interest should be considered in the formation of compact and contiguous electoral districts." Id.,

562 S.E.2d at 397 (emphasis added).

        Finally, the Sua,henson I court directed that "any new redistricting plans, ... , shall depart

from strict compliance with the legal requirements set forth herein only to the extent necessary to

comply with federal law." Id., 562 S.E.2d at 397. The Sua,henson I court closed by observing that

"[e]nforcement of the WCP will, in all likei.ihood, foster improved voter morale, voter tum.out, and

public respect for State government, and specifically the General Assembly as an institution." Id.

at 385, 562 S.E.2d at 398. The Sua,henson I court also opined that enforcing the WCP ''will assist

election officials in conducting elections at lower cost to the taxpayers ofthis State," and ''will instill

a renewed sense of community and regional cooperation within the respective countywide or

regionally formed legislative delegations mandated by the WCP." Id., 562 S.E.2d at 398.

        In Sua,henson IL the Supreme Court ofNorth Carolina affirmed the trial court's decision that

the General Assembly's 2002 revised redistricting plans failed to attain "strict compliance with the

legal requirements set forth in Sua,henson I and are unconstitutional." Sua,henson II, 357 N.C. at

314, 582 S.E.2d at 254 (quotation omitted). In reaching this conclusion, the Stephenson II court

explained how in Sua,henson I, ''this Court harmonized the provisions ofArticle I, Sections 2, 3, and

5, and the WCP of Article II, Sections 3(3) and 5(3) of the State Constitution and mandated that in

creating legislative districts, counties shall not be divided except to the extent necessary to comply

with federal law, including the 'one-person, one-vote' principle and the VRA." Id. at 309, 582

S.E.2d at 251. The General Assembly's deficiencies· in 2002 included "excessive division of



                                                   23

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counties; deficiencies in county groupings; and substantial failures in compactness, contiguity, and

communities of interest." ML, 582 S.E.2d at 252.

       This court construes Ste_phenson I and Ste_phenson II to require harmonizing the VRA and

the WCP (including the requirement ofcounty groupings). See id. at 309-14, 582 S.E.2d at 251-54;

Ste_phenson I, 355 N.C. at 369-75, 381-86, 562 S.E.2d at 388-92, 396-98. The Supreme Court of

North Carolina held in Ste_phenson I that the WCP gives way when ''required by the VRA." Id. at

383, 562 S.E.2d at 396-97 (emphasis added). Thus, the court must examine Section 2 to determine

whether Section2 requires a majority-black Senate district in northeast North Carolina. See id., 562

S.E.2d at 396-97.

                                                 b.

       This conclusion that a court must examine Section2 to determine whether Section 2 requires

a majority-black Senate district in northeast North Carolina comports with Pender Councy:v. Bartlett,

361 N.C. 491, 649 S.E.2d 364 (2007), aff'd sub nom. Bartlett v. Strickland, 556 U.S. 1 (2009). In

Pender Councy:, the Supreme Court of North Carolina revisited the interplay between Section 2 of

the VRA and the North Carolina Constitution's WCP and confirmed that redistricting must comport

with federal law. See id. at 493, 649 S.E.2d at 366. State constitutional limits (such as the WCP),

however, "are binding upon the General Assembly except to the extent superseded by federal law."

Id., 649 S.E.2d at 366 (quotation omitted). "Although federal law is supreme, when the primary

purpose ofthe WCP can be effected to a large degree without conflict with federal law, it should be

adhered to by the General Assembly to the maximum extent possible." Id., 649 S.E.2d at 366

(quotation omitted). "Moreover, the WCP cannot be applied in isolation or in a manner that fails

to comport with other requirements of the State Constitution." ML, 649 S.E.2d at 366 (quotation

omitted).

                                                 24

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        The Pender Councy court stated that the first Gingles precondition requires that a minority

group ofvoting age citizens be sufficiently large and geographically compact to constitute a majority

in a single-member district. See id. at 503-06, 649 S.E.2d at 372-73. The Pender Councy court

noted that its interpretation of Section 2 comported with Section 2, provided a ''bright line rule," and

provided a safe harbor for the General Assembly for determining when the first Gingles condition

is met. Id. at 504-05, 649 S.E.2d at 373. The Pender Councy court also noted the tension between

the first Gingles precondition and the third Gingles precondition ifcrossover districts were permitted

to satisfy Section 2's requirements. See id. at 506, 649 S.E.2d at 373-74. After all, "a high level

of crossover voting is inconsistent with the majority bloc voting defined in the third Gingles

precondition and weakens the possibility of vote dilution." Id., 649 S.E.2d at 374. Because black

voters in the House district at issue in Pender Councy were not a numerical majority of citizens of

voting age, such black voters lacked the power to decide independently the outcome of an election,

and their voting power was not diluted by the lack of a majority-black legislative district. See id. at

506-07, 649 S.E.2d at 374. Accordingly, the Pender Councy court held that the first Gingles

precondition was not satisfied. See id., 649 S.E.2d at 374.

       In finding that the House district at issue did not meet the first Gingles precondition, the

Pender Councy court noted that the district contained a black voting age population of 39.36 percent,

and the record did ''not reveal the number of voting-age African-Americans who are citizens, [but]

that number cannot exceed the total minority voting age population." Id. at 507, 649 S.E.2d at 374.

The Pender Councy court then observed that ''the formation oflegislative districts must comport with

the requirements of our State Constitution, unless federal law supercedes those provisions." I!L., 649

S.E.2d at 374. Because Section 2 did not require the formation ofthe House district at issue, Section

2 did not control the formation of that district or supercede the requirements of the North Carolina

                                                  25

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Constitution, including the WCP and its county grouping rule. See id. at 507--09, 649 S.E.2d at 375.

Thus, the House district had to be "drawn in accordance with the WCP and the Ste_phenson

I requirements." Id. at 509, 649 S.E.2d at 375.
        The Supreme Court of the United States affirmed the judgment of the Supreme Court of

North Carolina. See Strickland, 556 U.S. at 26. In Justice Kennedy's plurality opinion, joined by

Justice Alito and Chief Justice Roberts and joined separately in the judgment by Justice Scalia and

Justice Thomas, the Supreme Court held that "[o]nly when a geographically compact group of

minority voters could form a majority in a single-member district has the first Gingles requirement

been met" Id The Supreme Court reached this conclusion, in part, to avoid the obvious tension that

a contrary statutory interpretation of Section 2 would create between the first Ging]es precondition

and the third Ging]es precondition. See id. at 16-17. The Supreme Court also found "support for

the majority-minority requirement in the need for workable standards and sound judicial and

legislative admjnjstration." Id. at 17.

       The Supreme Court invoked the canon of constitutional avoidance in construing Section 2

to require the majority-minority standard for the first Ging]es precondition. See id. at 21-22. After

all, ''the moral imperative ofracial neutrality is the driving force ofthe Equal Protection Clause, and

racial classifications are permitted only as a last resort." Id. at 21 (cleaned up).           "Racial

classifications with respect to voting carry particular dangers." Id.· (quotation omitted). "Racial

gerrymandering, even for remedial purposes, may ha])ranjze us into competing racial factions; it

threatens to carry us further from the goal of a political system in which race no longer matters-a

goal that the Fourteenth and Fifteenth Amendments embody, and to which the Nation continues to

aspire." Id (quotation omitted).



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                                                  C.


        The legislative defendants argue that Demonstration District A fails the first Ging]es

precondition because it is not ''reasonably configured" in light of the WCP and the county grouping

rule under the WCP. See [D.E. 39] 14-15; Milligan., 599 U.S. at 18, 20; id. at 43 (Kavanaugh, J.,

concurring) ("C'tingles requires the creation of a majority-minority district only when, among other

things, ... a plaintiff's proposed alternative map and proposed majority-minority district are

reasonably configured-namely, by respecting compactness principles and other traditional

districting criteria such as county, city, and town lines." (quotation omitted)); Perez, 138 S. Ct. at

2332-33 (Texas did not have to break the "County Line Rule" in the Texas Constitution in order to

create a second Section 2 Latino district with a portion ofNueces County voters); Abrams, 521 U.S.

at 91-92 (the first Gingles precondition requires a ''reasonably compact" district and ''the § 2

compactness inquiry should take into account traditional districting principles such as maintaining

communities of interest and traditional boundaries" (quotation omitted)); Shaw II, 517 U.S. at 917.

       As discussed, the North Carolina Constitution prohibits any county from being "divided in

the formation of a senate district." N.C. Const. art. II,§ 3(3); see id. art. II,§ 5(3) (same for House

districts). If a county's population is too small to form a district alone, then the North Carolina

Constitution (as construed in Stephenson D requires the General Assembly to meet the WCP

requirements "by combining or grouping the mfojm1un number of whole, contiguous counties

necessary to comply with the at or within plus or minus five percent 'one-person, one-vote'

standard." Ste,phenson I, 355 N.C. at 383-84, 562 S.E.2d at 397. After each decennial census, in

order to comply with Stephenson I and its progeny, the General Assembly uses an algorithm to

determine county groupings for each chamber in the General Assembly to rninimfae the number of

counties traversed by district lines. See [D.E. 17-1] ,r 20.

                                                  27

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        After the 2020 U.S. Census, mathematicians (including Esselstyn) produced two optimal

county groupings for Senate districts in northeast North Carolina. See id. at fig. 3; Christopher

Cooper, et al., NC General Assembly Counn, Clusterings from the 2020 Census 2, available at

https://sites.duke.edu/quantifyinggerrymandering/files/2021/08/countyClusters2020.pd.f(lastvisited

Jan. 25, 2024). Both optimal groupings keep Warren, Halifax, and Martin Counties together. See

[D.E. 17-1] fig. 3. Neither optimal grouping includes Vance County. See id. The algorithm groups

Vance County with Franklin and Nash Counties. See Cooper, NC General Assembly Counzy

Clusterings from the 2020 Census 1.

       Demonstration District A (which Esselstyn drew) groups Vance County with Warren,

Halifax, and Martin Counties. See id. at fig. 6; cf. id. at ,r 40. Legislative defendants' expert Dr.

Sean P. Trende ("Dr. Trende") examined Demonstration District A and observed that "Franklin and

Nash [C]ounties do not have sufficient population to support a single Senate district on their own."

[D.E. 39-6] 7. Accordingly, under the WCP as interpreted in Stephenson I, Stephenson Il, and

Pender Counn,, Dr. Trende opined that the General Assembly would have to combine Franklin and

Nash Counties with another county or counties, leading to "a cascade of changes that are difficult

to sort out." Id. In other words, under North Carolina law, Demonstration District A would reset

the county grouping algorithm and necessitate anew statewide Senate districting plan. Cf. [D.E. 39]

15.5 In so doing, the legislative defendants argue that Demonstration District A would disrupt North

Carolina's traditional redistricting principles, including respect for county groupings under

Stephenson I and II. See Stephenson I, 355N.C. at 371,385,562 S.E.2dat389, 398. The legislative

defendants also argue that Section 2 does not require such a district. See Milligan, 599 U.S. at 18,


       5 Esselstyn' s expert report does not explain his decision to create Demonstration District A
by ignoring the county grouping algorithm that he helped to prepare.

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20; see,~ Perez, 138 S. Ct at 2332-34; Abrams, 521 U.S. at 91-92; Shaw II, 517 U.S. at 917;

see also Milligan, 599 U.S. at 43 (Kavanaugh, J., concurring). And, according to the legislative

defendants, Stephenson I, Stephenson II, and Pender County do not either. See Stephenson I, 355

N.C. at 383, 562 S.E.2d at 396--97 (holding the WCP only gives way in drafting districts when

''required by the VRA" (emphasis added)); see,~ Pender Cnty., 361 N.C. at 507, 649 S.E.2d at

374 (holding that a district ''not required by Section 2" must comply with Stephenson I and its

progeny); Stephenson II, 357N.C. at 309,314,582 S.E.2d at 251,254.

        The legislative defendants also argue that plaintiffs have not proven that Demonstration

District A can be part of a reasonably configured Senate plan in North Carolina. See [D.E. 39] 16.

According to the legislative defendants, plaintiffs seeking Section 2 relief customarily present an

entire redistricting plan including any majority-minority districts that Section 2 allegedly requires,

instead ofpresenting simply a single district. See,~ Milligim, 599 U.S. at 19--21. The legislative

defendants argue that plaintiffs must present Demonstration District A within the confines of an

entire Senate redistricting plan due to the county grouping rule under Stephenson I to ensure that the

proposed majority-black Senate district is reasonably configured itself and does not turn the entire

plan into a ''monstrosity." Id. at 28 (quoting Miller, 515 U.S. at 909). Because plaintiffs failed to

present an entire Senate redistricting plan with Demonstration District A and because the county-

grouping rule under Stephenson I and its progeny governs the entire state, the legislative defendants

argue that plaintiffs have failed to meet the first Gingles precondition of being reasonably

configured. See [D.E. 39] 17.

       In support of this latter argument, the legislative defendants note that the enacted SD 1 and

SD2 border SD5 in northeast North Carolina, which has a BVAP of 40.35% and likely qualifies as



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a crossover district. See id. 6 Neighboring SDll also may qualify as a crossover district with a

BVAP of36.65%. See id. According to the legislative defendants,"[a]lthough §2 does not mandate

crossover districts, states may create them 'as a matter oflegislative choice or discretion' [under

Bartl~ 556 U.S. at 23], and §2 can 'be satisfied~ crossover districts,' Cooper. 581 U.S. at 305."

Id. According to the legislative defendants, Demonstration District A "dismantles SD 1, 2, and 11,"

reconfigures the county groupings under Stq,henson I and its progeny in the other 92 counties, and

may, in turn, "dismantle districts like SD 5 that currently provide equal minority opportunity." Id. at

17-18. Moreover, according to the legislative defendants, "dismantling one district for some

minority voters (in SOS) to create another district for other minority voters (Demonstrative A) is

improper." Id. at 18 (citing Shaw II, 517 U.S. at 917; De Grandy, 512 U.S. at 1019). "Without

establishing the impact of Demonstration District A on minority opportunity elsewhere,

[Demonstration District A merely shows] 'that lines could have been drawn elsewhere, nothing

more."' Id. (quoting De Grandy, 512 U.S. at 1015).

       The legislative defendants' arguments concerning whether Demonstration District A is a

''reasonably configured district'' under the first Ging]es precondition have force. Nonetheless, the

court need not resolve the merits of those arguments in order to resolve plaintiffs' motion for a

pre1iminary injunction. Instead, the court assumes without deciding that Demonstration District A

meets the first Ging]es precondition.




       6
         SOS includes Edgecombe County and Pitt County. Senator Kan.die Smith (an.African.-
American Democrat) currently represents this Senate district. See N.C. Gen. Assembly, Senator
Kan.die D. Smith (Dem), https://www.ncleg.gov/Members/Biography/S/447 (last visited Jan. 25,
2024).

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                                                   2.

        As for Demonstration District B-1, the legislative defendants contend that it "does not satisfy

the numerosity requirement'' because "its BVAP of 48.4% is 'shy of 50%."' [D.E. 39] 13 (quoting

[D.E. 17] 17). Plaintiffs reply that black CVAP "is a proper statistic in this context," and

Demonstration District B-1 has a black CVAP over 50%; therefore, plaintiffs argue that

DemonstrationDistrictB-1 meets the first Gingles precondition. [D.E. 42] 5-6. The parties' dispute

concerns whether the court should consider BVAP or black CVAP when evaluating Demonstration

District B-1 under the first Gingles precondition.

        Some courts decline to use CVAP in redistricting cases when ''there is no evidence of a

significant noncitizen population." Pope v. Cnty. of Albany. No. 1: 11-CV-736, 2014 WL 316703,

at *13 (N.D.N.Y. Jan. 28, 2014) (unpublished); see, e..g._, Bamettv. City of Chicago, 141 F.3d699,

705 (7th Cir. 1998) (holding courts should use voting-age population where ''noncitizens [are] not

a significant part ofthe relevant population"); Negron v. City of Miami Beach, 113 F.3d 1563, 1568

(11th Cir. 1997) ("Of course, [a previous Section 2 decision] did not address [CVAP], because there

was no indication in that case that there was any disparity between black and white citizenship rates.

Nor is there likely to be any disparity in citizenship rates, except in a case, such as this one, where

the minority population includes a substantial number of immigrants."); cf. United States v. Village

of Port Chester, 704 F. Supp. 2d 411, 419--20 (S.D.N.Y. 2010) (requiring CVAP statistics for a

Hispanic community within a geographic area that was more than one-third noncitizen). Here, as

i n ~ plaintiffs cite no significant black noncitizen population in the counties at issue in this case.

See Pope, 2014 WL 316703, at *13.

       CVAP relies on the United States Census Bureau's American Community Survey ("ACS").

See [D.E. 17-1] ,r 33 n.6. The "ACS is based on a sample, rather than all housing units and people."

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U.S. Census Bureau, Understanding and Using American Community Survey Data: What All Data

Users Need to Know 1, available at https://www.census.gov/programs-surveys/acs/library/hand

books/general.h1ml (last visited Jan. 2S, 2024). Thus, "ACS estimates have a degree of uncertainty

associated with them" called sampling error. Id. The Census Bureau designed ACS "to provide

estimates ofthe characteristics ofthe population, not to provide counts ofthe population in different

... population subgroups." U.S. Census Bureau, Understanding and Using American Community

Survey Data: What State and Local Government Users Need to Know S, available at https://www.

census.gov/programs-surveys/acs/library/handbooks/state-local.h1ml (last visited Jan. 2S, 2024).

Accordingly, "CVAP data is less reliable than VAP." Pope, 2014 WL 316703, at *13. Indeed, the

Census Bureau has warned users that ACS data is ''not intended to be used in redistricting." Id. at

*13 n.22.

        In any event, even ifthe court were to entertain using black CVAP to evaluate Demonstration

District B-1, this court agrees with the Supreme Court ofNorth Carolina that ''the number ofvoting-

age African-Americans who are citizens ... cannot exceed the total minority voting age population"

in this case. Pender Cnty., 361 N.C. at S06--07, 649 S.E.2d at 374. Plaintiffs do not explain why

black CVAP is higher than BVAP in Demonstration District B-1. Cf. Perez v. Abbott, No. 11-cv-

360, 2017 WL 1406379, at *S6 (W.D. Tex. Apr. 20, 2017) (unpublished) (explaining that white

CVAP was higher than white VAP in a district because the Hispanic VAP included ''many Mexican

nationals").7




       7
         Likewise, plaintiffs fail to explain how CVAP in Demonstration District A is higher than
BVAP in Demonstration District A. Although Demonstration District A's BVAP exceeds SO%,
Demonstration District A's black CVAP suffers the same deficiencies as Demonstration District B-
1's black CVAP. See Pender Cnty., 361 N.C. at S06--07, 649 S.E.2d at 374.

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       The court recognizes its discretion to use either black CVAP or BVAP when evaluating

whether DemonstrationDistrictB-1 satisfies the first Gingles precondition ofbeing a majority-black

district. See, e...g._, Barnett, 141 F.3d at 70S; Negron, 113 F.3d at 1S68; Pope, 2014 WL 316703, at

*13. In exercising that discretion, the court has reviewed Esselstyn' s black CVAP calculations upon

which plaintiffs rely. The Redistricting Data Hub disaggregated the U.S. Census Bureau's block-

group-level CVAP data. See Redistricting Data Hub, https://redistrictingdatahub.org/wp-content/

uploads/2022/04/readme_nc_cvap_2020_2020_b.txt (last visited Jan. 2S, 2024). Esselstyn used the

Redistricting Data Hub's disaggregated CVAP data to calculate black CVAP totals at the precinct

level for the black CVAP statistics in his report. See [D.E. 17-1] 35. Esselstyn and the Redistricting

Data Hub rely on the U.S. Census Bureau's CVAP Special Tabulation from the 2016-2020 S-Year

American Community Survey. See id. at 34--3S; Redistricting Data Hub, 2020 Citizen Voting Age

Population (CVAP) Data for North Carolina from the American Community Survey (ACS) 5-Year

Estimates (2016-2020) Disaggregated to 2020 Census Blocks, https://redistrictingdatahub.org/

wp-content/uploads/2022/04/readme_nc_cvap_2020_2020_b.txt; see also U.S. Census Bureau,

Citizen Voting Age Population by Race and Ethnicity, https://www.census.gov/program.s-surveys/

decennial-census/about/voting-rights/cvap.2020.html (last visited Jan. 2S, 2024).

       The median margin of error in the U.S. Census Bureau's block group level data is 57.6%.

See U.S. Census Bureau, BlockGr.csv, available at https://www.census.gov/program.s-surveys/

decennial-census/about/voting-rights/cvap.2020.html (last visited Jan. 2S, 2024). 8 The average

margin of error in the U.S. Census Bureau's block group level data is 85.5%. See id. The maximum.


       8
         The court only has access to the U.S. Census Bureau's data in CSV format, which does not
include the entire nationwide dataset because the dataset is too large for Microsoft Excel. The
court's calculations in this paragraph do not include block groups with zero estimated citizens of
voting age.

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margin of error in the U.S. Census Bureau's block group level data is 4,475%. See id. The

Redistricting Data Hub does not discuss these margins of error or explain how it took the margins

of error into account when it disaggregated the U.S. Census Bureau's CVAP block group level data.

Esselstyn does not discuss these margins of error or explain how he took the margins of error into

account when he reaggregated the data to calculate precinct-level black CVAP in his report.

Plaintiffs do not discuss these margins of error in their briefs. In light ofthese margins of error, this

court has no confidence in relying on Esselstyn's black CVAP conclusions when considering the

black CVAP in either Demonstration District A or B-1.

       After discovery, plaintiffs may be able to demonstrate why the court should use black CVAP

and why black CVAP is higherthan.BVAP inDemonstrationDistrictB-1. At this preUminary stage,

however, the court declines to use black CVAP instead of BVAP as an appropriate measure of

whether plaintiffs' minority group is "sufficiently large" to constitute a majority in Demonstration

District B-1 in light of CVAP' s questionable reliability and plaintiffs' failure to explain how they

arrived at their black CVAP figures. See Milliga,g,, 599 U.S. at 18; Strickland, 556 U.S. at 12; Hall,

385 F.3d at430; Barn~ 141 F.3d at 705; Negron, 113 F.3d at 1568; Pope, 2014 WL 316703, at

*13.

       In opposition to this conclusion, plaintiffs cite the.Supreme Court ofNorth Carolina decision

in Pender County. which the Supreme Court affirmed in Strickland. In Pender County, however, the

Supreme Court of North Carolina did not have black CVAP figures and instead relied on BVAP.

See Pender Cnty.. 361 N.C. at 506--07, 649 S.E.2d at 374. Plaintiffs also cite Holloway v. City of

Va. Beach, 531 F. Supp. 3d 1015 (E.D. Va. 2021), vacated and remanded, 42 F.4th 266 (4th Cir.

2022), to support their use ofblack CVAP. In Holloway, black CVAP and BVAP data produced the

same results. See Holloway. 531 F. Supp. 3d at 1057. Thus, the court did not need to decide which

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measure was more appropriate. Regardless, the Fourth Circuit vacated the district court opinion in

Holloway. See Holloway v. City of Va Beach, 42 F .4th 266, 278 (4th Cir. 2022). Accordingly, the

court rejects plaintiffs' argument and declines to use black CVAP to evaluate whether Demonstration

District B-1 meets the first Ging]es precondition.

        DemonstrationDistrictB-1 has a48.41 % BVAP. See [D.E. 17-1] table 4. Thus, black voters

in Demonstration District B-1 would need "support from crossover [white] voters to elect'' their

preferred candidate. Strickland, 556 U.S. at 9. Section 2 does not require such districts, and such

districts do not meet the first Gingles precondition. See id. at 23. Accordingly, Demonstration

District B-1 fails the first C-ring]es precondition. See id Thus, plaintiffs are not likely to succeed on

the first Gingles precondition with Demonstration District B-1.

                                                   D.
       As for the second Gingles precondition, plaintiffs must show that their minority group is

''politically cohesive." Gingles, 478 U.S. at 51; see Milligan.. 599 U.S. at 18. Plaintiffs may show

political cohesion by "showing that a significant number of minority group members usually vote

for the same candidates." C-ring]es, 478 U.S. at 56. ''Unlike the first Ging]es prong, which has an

established bright-line test of 50%+, there is no cutoff for political cohesion." Pope v. Cnty. of

Albany, 94 F. Supp. 3d 302,333 (N.D.N.Y. 2015) (quotation and alteration omitted). Plaintiffs'

expert Dr. Barreto notes that black voters in North Carolina ''vote for candidates of choice by

roughly a 9-to-1 margin or greater." [D.E. 17-2] ,r 22. Dr. Barreto also observes that in North

Carolina elections he analyzed, black voters voted ''for the same candidates of choice with clear

support in the 95% range." Id. at ,r 24. In some elections, over 98% of black voters voted for the

same candidates. Id at ,r 26.



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        The legislative defendants do not contest political cohesion.           See [D.E. 39] 13-2S.

Accordingly, plaintiffs are likely to succeed on the second Gingles precondition. See, e..,g., Milligan,

S99 U.S. at 22; ~ 94 F. Supp. 3d at 333-36.

                                                   E.
        As for the third Gingles precondition, plaintiffs must show that ''the white majority votes

sufficiently as a bloc to enable it ... usually to defeat the minority's preferred candidate." Gingles,

478 U.S. at Sl; see Milligan, S99 U.S. at 18. The third Gingles precondition ''requires racial bloc

voting that is 'legally significant."' Covingto~ 316 F.R.D. at 167. In other words, as the Covington

court explained, "a general finding regarding the existence ofany racially polarized voting, no matter

the level, is not enough." Id.; see Bush v. Vera, S17 U.S. 9S2, 994 (1996) (O'Connor, J., concurring)

(observing that a party "cannot simply rely on generalized assumptions about the prevalence ofracial

bloc voting"). Accordingly, courts must consider ''whether racial bloc voting is operating at such

a level that it would actually minimize or cancel minority voters' ability to elect representatives of

their choice ifno remedial district were drawn." Covington, 316 F.R.D. at 168 (cleaned up). When

considering this precondition, courts should ask ''merely whether ... voters are racially polarized,"

not ''why." United States v. Charleston Cnty.. 36S F.3d 341,348 (4th Cir. 2004). "[C]ausation is

relevant," but only "in the totality ofthe circumstances inquiry," not the three Gingles preconditions.

Id. at 347-48; see Lewis v. Alamance Cnty., 99 F.3d 600, 61S-16 & n.12 (4th Cir. 1996).9




        9
           The legislative defendants contend that "North Carolina voting patterns lack legal
significance for the additional reason that they reflect a partisan, not a racial, divide." [D.E. 39] 22.
The legislative defendants cite their expert, Dr. John Alford (''Dr. Alford''). See id. at 22-23; [D.E.
39-7] (Dr. Alford's report). The court considers Dr. Alford's report as part of the totality of the
circumstances. See Charleston Cnty., 36S F.3d at 347-49; Lewis, 99 F.3d at 61S-16 & n.12.

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        Dr. Barreto conducted racially polarized voting analysis in North Carolina See [D.E. 17-2]

,r 11. Dr. Barreto used election results and voter file data obtained from the Board. See id. at ,r 20.
Dr. Barreto used eiCompare software to conduct ecological inf~ence ("Ef') analysis. See id. at ,r,r

20-21. Courts frequently review EI analysis in vote dilution cases. See, ~ Bait Cnzy. Branch of

Nat'l Ass'n for the Advancement of Colored People v. Bait. Cnty., No. 21-cv-3232, 2022 WL

657562, at *8 n.4 (D. Md. Feb. 22, 2022) (unpublished); Covington, 316 F.R.D. at 169 & n.47.

        Dr. Barreto performed ''more than 350 ecological inference statistical models ... across 31

recent elections in 2020 and 2022." [D.E. 17-2] ,r 23. In "elections most closely resembling

endogenous elections," i.e., elections in northeast North Carolina, Dr. Barreto' s "El models report

that 98-99% of Black voters are cohesive in voting for their candidates of choice" in the 2020 and

2022 elections. Id. at ,r 26. By contrast, Dr. Barreto's EI model reports that between 80-88% of

white voters in northeast North Carolina vote against black voters' candidate of choice. Id. Dr.

Barreto opined that ''white voters vote in the exact opposite direction [as black voters] in every one

ofthese elections" he analyzed. Id. at ,r 27. Dr. Barreto evaluated plaintiffs' demonstration districts.

See id. at App'x B. According to Dr. Barreto' s evaluation, black voters' candidates of choice would

have won Demonstration District A and Demonstration District B-1 in every election if those

districts were in place in 2020 and 2022. See id By contrast, black voters' candidates of choice

would have lost SDI and SD2 in all but one election if those districts were in place in 2020 and

2022. See id. Notably, according to Dr. Barreto, the one election a black-voter-preferred candidate

would have won in SB 758's districts was the 2022 North Carolina Senate race in SD2. See id. at

21, table Bl. Moreover, Dr. Barreto's analysis of SD2 in 2022 was one of just four elections Dr.

Barreto analyzed that most directly concerned whether black voters can elect Senate candidates of

choice in SD 1 or SD2, and one of the two Senate districts that plaintiffs attack in this case. See id.

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        The court asked about this startling piece of plaintiffs' evidence concerning SD2 at the

hearing on plaintiffs' motion for a preHminary injunction. See, e_Jb Johnson v. Hamrick, 196 F.3d

1216, 1222 (11th Cir. 1999) (holding that endogenous elections are ''more probative than exogenous

elections"). Plaintiffs responded that this figure must have been a typo and asked to supplement Dr.

Barreto' s report. The court granted the request. On January 12, 2024, plaintiffs filed a supplemental

declaration from Dr. Barreto in which he stated that this figure was not a typo. See [D.E. 55-1].

Instead, Dr. Barreto opined that his model estimated a victory for the black-preferred candidate in

the SD2 race in 2022 because he excluded consideration ofvotes cast in other uncontested elections.

See id at 1-2. Dr. Barreto opined that ifhis model incorporated the uncontested elections, the figure

in his table would reflect a loss for the black-preferred candidate. See id.

        On January 22, 2024, the legislative defendants responded to Dr. Barreto's supplemental

declaration. See [D.E. 60]. The legislative defendants note that Dr. Barreto "declares that his table

includes only vote shares in Halifax, Warren, and Martin" Counties. Id. at 2; cf. [D.E. 55-1] 1. That

admission shows that Dr. Barreto is doing an unusual form of reconstituted election analysis. See

[D.E. 60] 2-3; cf. Rodriguez v. Bexar Cnty., 385 F.3d 853, 861 (5th Cir. 2004) ("Reconstituted

election analysis is a relatively simple method that extracts actual election results from a variety of

statewide and local races that subsume the area being analyzed and determines, precinct-by-precinct

within the new district, the racial composition ofthe vote and the 'winner' within the new district.").

The legislative defendants also correctly argue that Dr. Barreto' s new representation "cannot seem

to be cabined to the contests he would prefer the Court ignore." [D.E. 60] 3. The legislative

defendants also chide Dr. Barreto for performing "back-of-the napkin math" in his supplemental

declaration to support his ultimate conclusion that black-preferred candidates cannot win in SD 1 or

SD2. Id. at 4. The legislative defendants understandably ask why Dr. Barreto did not do that

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 analysis in his initial report or across the board in his sppplemental declaration if''that were the right
                                                          i
 way to do the analysis." Id. The legislative defendants contend that Dr. Barreto' s supplemental
                                                          '

 declaration, at a minimum, shows ''why experts in [redistricting] cases should be subject to vigorous

 cross examination and thorough expert rebuttal reports." Id.

         The court agrees with the legislative defendants. Dr. Barreto' s belated explanation undercuts

 all of Dr. Barreto's conclusions by demonstrating that fuller data sets could change his estimated

 outcomes. Dr. Barreto does not explain the profound discrepancies between the methods ofanalysis

 he performed in his initial report and in his supplemental declaration. Dr. Barreto also fails to

 explain why the court should credit any of his estimated outcomes for elections in SD2 in light of

 his supplemental declaration. These figures have important implications for the third Ging]es

 precondition in plaintiffs' case. Accordingly, Dr. Barreto' s unpersuasive explanation demonstrates,

 at a minimum, that this case would greatly benefit from discovery, including, for example, Dr.

 Barreto' s deposition and Dr. Barreto producing his complete data files to the legislative defendants.

 This hotly contested factual issue weighs in favor of the court preserving the status quo ante litem.

 See Purcell, 549 U.S. at 5-6; Wetzel v. Edwards, 635 F.2d 283, 286 (4th Cir. 1980).

         Dr. Barreto opined that ''there is a clear, consistent, and statistically significant finding of

• racially polarized voting in North Carolina statewide as well as within the Northeast region in

 particular." [D.E. 17-2] at ,r 22. Dr. Barreto also opined that the population ofblack voters "in the

 northeast region of North Carolina is large and geographically compact and can form a majority-

 Black State Senate district that will elect Black candidates of choice." Id. at ,r 32. Notwithstanding

 his own analysis of SD2 in 2022, Dr. Barreto also opined that black voters' "candidates of choice

 cannot win office in either Senate District 1 or 2." Id at ,r 33.



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         The legislative defendants respond that Dr. Barreto found "statistically significant'' racially

polarized voting but not "legally significant'' racially polarized voting because Dr. Barreto did not

conduct the proper analysis. [D.E. 39] 20-21 (quotation omitted). Plaintiffs disagree. See [D.E.

42] 8.

         Courts have emphasized the "crucial difference between legally significant and statistically

significant racially polarized voting." Covington, 316 F.R.D. at 170 (emphasis in original). The

term ''racially polarized voting'' only means "different racial groups 'vote in blocs for different

candidates."' Id. (quoting Gingles, 478U.S. at62); see [D.E. 17-2] ,r 16(defining''raciallypolarized

voting'' as "voters of different racial or ethnic groups exhibiting different candidate preferences in

an election"). As the Covington court explained, courts reject statistically significant racially

polarized voting to show the third Gjngles precondition because that label "applies equally well

where there is only a mjnjmaJ degree of polarization." Covington., 316 F.R.D. at 170. Instead, the

third Gingles precondition "is concerned only with legally significant racially polarized voting,

which occurs when the majority group votes sufficiently as a bloc to enable it ... usually to defeat

the minority's preferred candidate." Id. (cleaned up); see Gingles, 478 U.S. at 51, 55-56.

         To demonstrate legally significant racially polarized voting, an expert must engage in a

"district effectiveness analysis," which is "a district-specific evaluation used to determine the

minority voting-age population level at which a district becomes effective in providing a realistic

opportunity for ... voters ofthat minority group to elect candidates oftheir choice." Covington, 316

F.R.D. at 168 n.46. In other words, an expert must determine if black voters' candidates of choice

''would usually be defeated without a VRA remedy." Id. at 168. As discussed, Section 2 does not

require crossover districts. See Strickland, 556 U.S. at 23. Thus, a proper district effectiveness

analysis supporting plaintiffs' challenge must show that black voters' candidates of choice cannot

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win elections unless BVAP in the contested districts exceeds 50% plus one vote. See, e.g., Bethune-

Hill v. Va. State Bd. of Elections, 580 U.S. 178, 194--95 (2017); Covington, 316 F.R.D. at 170.

        As an example of such a district effectiveness analysis, the legislative defendants submitted

the expert report of Dr. Lisa Handley that Dr. Handley submitted on behalf of the plaintiffs in

Common Cause v. Lewis, No. 18-cvs-14001, 2019 WL 4569584 (N.C. Super. Ct. Sept. 3, 2019),

abrogated by Harper v. Hall, 384 N.C. 292, 886 S.E.2d 393 (2023) ("Harper III''). In Lewis, the

plaintiffs challenged the General Assembly's legislative districts on a theory of partisan

gerrymandering. See id. at* 1-2. The defendants (members ofthe General Assembly) raised Section

2 as a federal defense. See id at *100-03. The Lewis court held that the General Assembly failed

to "establish the existence of legally sufficient racially polarized voting in any area of North

Carolina, or any particular House or state Senate district." Id. at *100 (emphasis added). Instead,
                                                            '
the Lewis court had evidence from Dr. Handley demonstrating a lack oflegally significant racially

polarized voting across every legislative district she analyzed because her district effectiveness

analyses showed black voters' candidates of choice could win the challenged districts with less than

50% BVAP. See [D.E. 39-7] 33-75.

        Plaintiffs correctly note that Dr. Handley cabined the value ofher report in Lewis, noting that

her "analysis cannot be extrapolated to other counties and districts not analyzed in this report." Id.

at 33; see [D.E. 42] 9. lli. Handley~ however, completed a district effectiveness analysis. See [D.E.

39-7] 33-75. Dr. Barreto did not. Thus, Dr. Handley's report demonstrates another deep flaw in Dr.

Barreto's report.·

        At the hearing on plaintiffs' motion for a pre1iminary injunction, plaintiffs contended that,

under Covington, they could meet their burden to show legally significant racially polarized voting

through either a district effectiveness analysis or a statistically significant racially polarized voting

                                                   41

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analysis plus an analysis of election results in the Senate districts they challenge. Plaintiffs are

incorrect. In Covington and Common Cause (among other cases), the General Assembly raised

Section 2 as a defense to racial and partisan gerrymandering claims. See Covington, 316 F.R.D. at

124; Common Cause, 2019 WL 4569584, at *100-01, *131-32. Thus, the General Assembly had

to show legally significant racially polarized voting that justified its use of race to create majority-

black districts. See Covington, 316 F.R.D. at 167-68; Common Cause, 2019 WL 4569584, at

*131-32. The courts held that the General Assembly failed to meet its burden to justify using race

to create majority-black House and Senate districts because the General Assembly presented no

evidence that majority-black districts were necessary for black-preferred candidates usually to win.

See Covington, 316 F.R.D. at 168-69; Common Cause, 2019 WL 4569584, at *100-01.

       The method to determine whether a majority-black district is necessary under Section 2 is

through a proper district effectiveness analysis. See Covington, 316 F.R.D. at 168-69 & n.46. Just

as a legislature cannot use Section 2 to justify creating a majority-black district without a proper

district effectiveness analysis, a plaintiff cannot either. See id.; see also Cooper, 581 U.S. at 306

("We by no means insist that a state legislature, when redistricting, determine precisely what percent

minority population § 2 of the VRA demands. But neither will we approve a racial gerrymander

whose necessity is supported byno evidence ...."(cleaned up)); Bethune-Hill, 580U.S. at 194--95.

       At the hearing on plaintiffs' motion for a preHminary injunction, plaintiffs conceded that Dr.

Barreto failed to provide a district effectiveness analysis. Dr. Barreto merely compared hypothetical

election results between plaintiffs' demonstration districts and Senate Districts 1 and 2. See [D.E.

17-2] 21-23. Dr. Barreto did not find the level ofBVAP in Demonstration Districts A and B-1

below which black voters' candidates of choice stop winning elections and start losing them. Cf.

[D.E. 39-7] 33-74 (Dr. Handley's analysis). Indeed, as discussed, plaintiffs' Demonstration District

                                                  42

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 B-1 has a BVAP below SO%. See [D.E. 17] 17. Dr. Barreto, however, estimated that black voters'

 candidates ofchoice would have won~ electioninDemonstrationDistrictB-1 in2020 and 2022.

 See [D.E. 17-2] 21-23. Thus, when using the BVAP of 48.4%, Dr. Barreto's analysis undermines

• plaintiffs' challenge to SB 7S8 by demonstrating that Demonstration District B-1 is a crossover

 district. Moreover, the scatterplots in Dr. Barreto's report show that black voters' candidates of

 choice begin winning precincts in the North Carolina counties at issue in this case when BVAP

 meets or exceeds 30-40%. See id. at 12-13. Although Dr. Barreto did not do a district effectiveness

 analysis, his report suggests that a proper district effectiveness analysis for plaintiffs' demonstration

 districts likely would yield a ''minority voting-age population level" below SO% which provides "a

 realistic opportunity for ... voters of that minority group to elect candidates of their choice."

 Covington, 316 F .R.D. at 168 n.46.

         Tellingly, plaintiffs ask the court to issue an extraordinary mandatory preUminary injunction

 but leave Senate District S intact because it is a ''minority opportunity district." See, e.g.. [D.E. 17]

 16. Senate District Sin northeast North Carolina combines Edgecombe County and Pitt County and

 has a 40.3S% BVAP. See [D.E. 17-1] 11. 10 Thus, plaintiffs implicitly concede that legally

 significant racially polarized voting does not exist in Senate District S. See id.; Strickland, SS6 U.S.

 at 9.

         Other evidence further undermines plaintiffs' attempt to satisfy the third Ging]es

 precondition. In 2022, North Carolina courts approved a new electoral redistricting plan for North

 Carolina's congressional districts to be used in the 2022 congressional elections. See Order, N.C.

 League of Women Voters, Inc. v. Hall, No. 21 CVS 1S426 (N.C. Super. Ct. Feb. 23, 2022). In that


         10
             As mentioned, Senator Kan.die Smith (an African-American Democrat) currently
 represents Senate District S.

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redistricting plan, North Carolina's First Congressional District ("CD 1") contains all ofthe counties

at issue in this case and is composed of Bertie, Chowan, Edgecombe, FrankUn, Gates, Greene,

Halifax, Hertford, Martin, Nash, Northampton, Pasquotank, Perquimans, Tyrrell, Vance, Warren,

Washington, and Wilson Counties and a portion of Pitt County. See N.C. Gen. Assembly, North

Carolina Congressional District Plan, https://www.ncleg.gov/Redistricting/DistrictPlanMap/C2022C

(last visited Jan. 2S, 2024). CDl has a BVAP of approximately 40%. Cf. U.S. Census Bureau, My

Cnngressional District, https://www.census.gov/mycd/?st=37&cd=Ol (last visited Jan. 2S, 2024)

(listing demographic data for congressional districts used in the 2022 elections). Nonetheless, in

2022, Don Davis-an African-American Democrat-won CDL See North Carolina State Board of

Elections, 11/08/2022 Official General Election Results - Statewide, https://er.ncsbe.gov/contest_

details.html?election_dt=l 1/08/2022&county_id=O&contest_id=l364 (last visited Jan. 2S, 2024).

The 2022 election results in CD 1 provide additional evidence ofwhite crossover voting in northeast

North Carolina, including in the counties at issue in plaintiffs' proposed remedial majority-black

Senate district. 11

        "If the lesson of Ging]es is that society's racial and ethnic cleavages sometimes necessitate

majority-minority districts to ensure equal political and electoral opportunity, that should not obscure

the fact that there are communities in which minority citizens are able to form coalitions with voters

from other racial and ethnic groups, having no need to be a majority within a single district in order



        11
           Congressman Davis's experience with North Carolina voters is not unique.
Congresswoman Alma Adams represents the people in Congressional District 12, which
encompasses a portion of Mecklenburg County and Cabarrus County. Congresswoman Valerie
Foushee represents the people in Congressional District 4, which encompasses Alamance County,
Durham County, Granville County, Orange County, Person County, and a portion of Caswell
County. Congresswoman Adams and Congresswoman Foushee are African-American Democrats.
They were elected in districts in 2022 with a black voting-age population below SO%.

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to elect candidates of their choice." De Grandy, S12 U.S. at 1020. On the current record, the court

finds that the black voting-age population in the counties at issue in this case live and work in such

communities. Likewise, on the current record, the court finds that the white voting-age population

in the communities at issue do not vote as a bloc against black-preferred candidates to enable the

white bloc usually to defeat the black-preferred candidates.

        Of course, the court recognizes that not every candidate in every election represents

''perfection to every minority voter, but minority voters are not immune from the obligation to pull,

haul, and trade to find common political ground, the virtue of which is not to be slighted in applying

a statute meant to hasten the waning ofracism in American politics." Id On the current record, the

court finds the black and white voting-age populations in the counties at issue in this case do ''pull,

haul, and trade to find common political ground." Id.

       At this stage of the case, plaintiffs fail to demonstrate legally significant racially polarized

voting in northeast North Carolina in the counties at issue in this case. See, ~ Covington, 316

F.R.D. at 169. Where plaintiffs fail ''to demonstrate Gingles' third precondition-sufficient white

majority bloc voting to frustrate the election of the minority group's candidate of choice," then "it

cannot be said that the ability of minority voters to elect their chosen representatives is inferior to

that of white voters." Voinovicb, S07 U.S. at 1S8 (quotation omitted). Thus, plaintiffs fail to

demonstrate they are likely to succeed on the merits of the third Gingles precondition.

                                                  F.
       Generally, courts consider whether a violation of Section 2 has occurred based on the totality

of the circumstances only after a party has established the three Gingles preconditions. See

Strickland, S56 U.S. at 11-12; see CovingtotJ, 316 F.R.D. at 167. As discussed, plaintiffs fail to

satisfy all three Gingles preconditions; therefore, they fail to show a likelihood of success on the

                                                  4S

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merits of their Section 2 claim. Nonetheless, in the alternative, the court considers the parties'

arguments about the totality of the circumstances.

        Plaintiffs who prove the three Gingles preconditions also must prove, ''under the totality of

the circumstances, that the political process is not equally open to minority voters." Milligi:m, 599

U.S. at 18 (quotations omitted); see 52 U.S.C. § 1030l(b); De Grandy, 512 U.S. at 1011-12 ("[I]f

Ging]es so clearly identified the three [preconditions] as generally necessary to prove a § 2 claim,

it just as clearly declined to hold them sufficient . . . . [C]ourts must also examine other evidence

in the totality of circumstances ...."); Cling)es, 478 U.S. at 45-46; Covington, 316 F.R.D. at 125.

The Gingles inquiry is "peculiarly dependent upon the facts of each case." Milligag., 599 U.S. at 19

(quotation omitted). Thus, courts ''must conduct an intensely local appraisal of the electoral

mechanism at issue, as well as a searching practical evaluation of the past and present reality." Id.

(quotation omitted); see Gingles, 478 U.S. at 79; Charleston Cnty.. 365 F.3d at 349.

                                                   1.

        Among other local considerations, courts consider: (1) the extent of the state's historical

discrimination concerning the right to vote against plaintiffs' minority group; (2) the extent of

racially polarized voting; (3) the extent to which the state has adopted other voting practices that may

exacerbate discrimination against the minority group; (4) whether members of plaintiffs' minority

group have been denied access to a candidate slating process; (5) whether members of plaintiffs'

minority group in the state "bear the effects of discrimination" in education, employment, or health,

hindering their ability to participate in the political process; (6) whether political campaigns have

been characterized by overt or subtle racial appeals; (7) the extent to which members of plaintiffs'

minority group have been elected to public office in the jurisdiction; (8) whether there is a significant

lack of responsiveness by the state's elected officials to the "particularized needs" of plaintiffs'

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minority group; and (9) whether the state's policy underlying its use of the challenged voting

procedure is tenuous. See Gingles, 478 U.S. at36-38; S. Rep. No. 97-417, at28-29 (1982). Courts

refer to Gingles's non-exclusive list as the "Senate factors." See,~ Milligm 599 U.S. at 69-70

(Thomas, J ., dissenting); United States v. Charleston Cnn,., 318 F. Supp. 2d 302, 321 (D.S.C. 2002).

        Plaintiffs discuss each Senate factor. First, plaintiffs contend that North Carolina historically

discriminated against black voters. See [D.E. 17] 21-23. In support, plaintiffs cite very old voting

practices and cases. See id. Plaintiffs cite just one case from the last 30 years in which a court found

the General Assembly acted with discriminatory intent when it enacted a voting law. See id. (citing

N.C. State Con:f. ofNAACP v. McCrozy, 831 F.3d 204, 238 (4th Cir. 2016)). The court gives little

weight to plaintiffs' overwhelmingly outdated evidence.

       As for the second Senate factor, plaintiffs repeat their argument that North Carolina voters

are ''highly racially polarized." [D.E. 17] 23. As discussed, plaintiffs fail to demonstrate legally

significant racially polarized voting. See, ~ Covington, 316 F .R.D. at 169. Instead, the record,

including plaintiffs' own evidence, demonstrates "substantial crossover voting" in North Carolina.

Strickland, 556 U.S. at24; see Covingtoil, 316 F.R.D. at 128, 142-65, 167-74; see also [D.E. 17-2]

12-13, 21-23. Accordingly, the court rejects this argument. This factor weighs in favor of the

legislative defendants.

       Third, plaintiffs argue that North Carolina has designed voting practices to discriminate

against black voters "since the 19th century." [D.E. 17] 23. The legislative defendants respond that

this factor focuses on ''whether the challenged scheme interacts with other [voting] mechanisms in

the present to enhance the discriminatory impact ofthe challenged system." [D.E. 39] 24 (emphasis

in original). Plaintiffs reply that the legislative defendants' argument is "incorrect on [its] own

terms." [D.E. 42] 9.

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        Courts construe the third Senate factor to consider whether the juriscµction presently employs

voting practices designed to discriminate against minority voters. See, e..&, Ala. State Conf. ofNat'l

Ass'n for Advancement of Colored People v. Alabama, 612 F. Supp. 3d 1232, 1306--07 (M.D. Ala.

2020); Nat'l Ass'n for Advancement of Colored People, Spring Valley Branch v. East Ramapo Sch.

Dist., 462 F. Supp. 3d 368, 400-02 (S.D.N.Y. 2020); Luna v. Cnty. of Kem, 291 F. Supp. 3d 1088,

1135-36 (E.D. Cal. 2018); Montes v. City of Yakima, 40 F. Supp. 3d 1377, 1410-12 (E.D. Wash.

2014); United States v. City of Euclid, 580 F. Supp. 2d 584, 607--08 (N.D. Ohio 2008). Indeed,

plaintiffs' argument (ifaccepted) would render the third Senate factor super:tluous in light ofthe first

Senate factor. Plaintiffs fail to cite evidence that North Carolina presently employs other voting

practices that may enhance the opportunity for discrimination against black voters. See [D.E. 17]

23. Accordingly, this factor favors the legislative defendants.

       Fourth, North Carolina does not use a candidate slating process. See id. Accordingly, this

factor does not apply. See,~ Montes, 40 F. Supp. 3d at 1412-13.

       Fifth, plaintiffs contend that ''North Carolina's discrimination has produced severe

socioeconomic disparities" between black and white North Carolinians. See [D.E. 17] 23-25. In

support,plaintiffscitetheopinionoftheirexpertDr. Traci Burch. See id.; [D.E.17-3] (Dr. Burch's

report). Dr. Burch's report, however, contains no statistical analysis demonstrating that race

discrimination by North Carolina caused the socioeconomic disparities that Dr. Burch discusses in

her report. Accordingly, this factor does not help plaintiffs.

       Sixth, plaintiffs contend ''North Carolina political campaigns feature racial appeals." [D.E.

17] 25-26. In support, plaintiffs cite: (1) the "campaign tactics of U.S. Senate candidate Jesse

Helms in 1984 and 1990"; (2) a comment from then-candidate for the House of Representatives

Madison Cawthomin2020 that Cawthom's Democratic opponent allegedly associatedhimself''with

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people who wanted to ruin white males"; and (3) an advertisement then-Congressman Ted Budd ran

involving former Supreme CourtofNorth Carolina ChiefJustice Cheri Beasleyin2022 that ''blamed

Beasley for crimes committed by individuals after early release from prison." Id.; see [D.E. 17-3]

20-21. The legislative defendants contend that ''the evidence does not support" plaintiffs' argument.

[D.E. 39] 2S.

        Racial appeals can take various forms. See City ofEuclid, S80 F. Supp. 2d at 61 0; Williams

v. City of Dallas, 734 F. Supp. 1317, 1360 n.119 (N.D. Tex. 1990). The court gives little weight to

Jesse Helms's campaign tactics in 1984 and 1990 because they occurred "decades ago." LYmb 291

F. Supp. 3d at 1139. The court finds that Ted Budd's 2022 advertisement, which ''never explicitly

mention[ed] race," [D.E. 17-3] 20, was not a racial appeal. Thus, plaintiffs are left with Madison

Cawthom's statement in a 2020 congressional campaign in western North Carolina. See id. at

20-21. North Carolina, however, has hosted hundreds of thousands of political campaigns since

196S at the federal, state, and local levels. Assuming without deciding plaintiffs' example

constitutes an overt or subtle racial appeal, it does not "characterize" North Carolina campaigns in

2023 and 2024. See, e.g., Rose v. Raffensperger, No. 1:20-cv-2921, 2022 WL 670080, at *3 (N.D.

Ga. Mar. 7, 2022) (unpublished) ("[T]hese two examples [from 2020] are simply not sufficient to

show that political campaigns in Georgia are 'characterized' by such odious appeals."); City of

Euclid, S80 F. Supp. 2d at 610 (finding ''the evidence in this case refers to two disparate pieces of

literature, from different sources, put out decades apart'' and was ''not ... particularly compelling'').

Thus, this factor does not support plaintiffs' argument.

        Seventh, plaintiffs contend that black North Carolinians "are slightly underrepresented in

some offices relative to their share of the State's population." [D.E. 17] 26. The legislative

defendants respond that Section 2 does not require proportional representation. See [D.E. 39] 24.

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        "Forcing proportional representation is unlawful and inconsistent with this Court's approach

to implementing [Section] 2." Milligan, 599 U.S. at 28; see 52 U.S.C. § 1030l(b); Covingtoa 316

F .R.D. at 133 n.13. Instead, courts consider whether ''no members of a minority group have been

elected to office over an extended period of time." S. Rep. No. 97-417, at 28 n.115. The election

of just "a few minority candidates," however, does not necessarily foreclose the possibility of

dilution of the minority group's vote. Id. Dr. Burch concedes that the current Lieutenant Govern.or

ofNorth Carolina is a black Republican and that black members ofthe General Assembly are "close

to parity'' with the share of black people in North Carolina's population. [D.E. 17-3] 22-23.

Moreover, Senator Blue is the minority leader of the North Carolina Senate, and Representative

Reives is the minority leader of the North Carolina House of Representatives. Senator Blue and

Representative Reives are African-American Democrats. In addition, numerous black candidates

consistently have won election to statewide appellate judgeships. Accordingly, plaintiffs fail to

demonstrate that few black candidates have won elections in North Carolina. This factor favors the

legislative defendants. Cf. Ala State Conf. ofNAACP, 612 F. Supp. 3d at 1311-15.

       Eighth, plaintiffs cite ''the persistent and dramatic socioeconomic disparities" between black

and white North Carolinians as evidence that North Carolina elected officials are ''not responsive"

to black voters. [D.E. 17] 26. The court, however, "cannot accept the plaintiffs' argument that only

unresponsiveness-and not responsiveness-is relevant to a [Section] 2 inquiry." N.A.A.C.P ., Inc.

v. City of Niagara Falls, 65 F.3d 1002, 1023 (2d Cir. 1995). Instead, this Senate factor "involves

review of tangible efforts of elected officials and the impact of these efforts on particular members

ofthe community." Id. at 1023 n.24. Plaintiffs offer no evidence ofelected officials' responsiveness

or unresponsiveness to black voters. See [D.E. 17] 26. Instead, plaintiffs ask the court to infer that

North Carolina elected officials are unresponsive to black voters based on socioeconomic inequality

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between black and non-black North Carolinians. See id. The court declines to draw that unjustified

inference. See,~ Rose, 2022 WL 670080, at *3. Accordingly, this factor does not support

plaintiffs' argument.

        Ninth, plaintiffs contend that ''no legitimate governmental interest justifies" SB 758. [D.E.

17] 26. As discussed, however, the legislative defendants enacted SB 758 to comply with federal

law and the WCP and in light of traditional redistricting principles of "compactness. contiguity.

respect for existing political subdivisions, political considerations[,] and incumbent residence."

[D.E. 39-5] 3; see Stephenson I, 355 N.C. at 383, 562 S.E.2d at 396-97. Accordingly, the court

rejects plaintiffs' argument and finds that this factor weighs in favor of the legislative defendants.

                                                  2.

        The legislative defendants contend that, under the totality of circumstances, voting is

politically polarized, not racially polarized, and cite Dr. Alford's report in support. See [D.E. 39]

22-23. Plaintiffs do not meaningfully respond to this argument. See [D.E. 42] 8. Instead, plaintiffs

contend it is "irrelevant." Id.

       Courts properly consider whether partisanship drives polarization rather than race when

considering the totality of the circumstances. See Charleston Cnty., 365 F.3d at 347--48; see,~

Cooper, 581 U.S. at 307--08 (discussing a ''partisanship defense" when plaintiffs accuse a state of

impermissible racial gerrymandering); cf. Whitcombv. Chavis, 403 U.S. 124, 153 (1971) (rejecting

plaintiffs' position that, where black voters had equal opportunity to participate in the political

process, "invidious discrimination" resulted when "Democrats□ suffer[ed] the disaster oflosing too

many elections"). In other words, "[t]he Voting Rights Act does not guarantee that nominees ofthe

Democratic Party will be elected, even if black voters are likely to favor that party's candidates."

Baird v. Consol. City of Indianapolis, 976 F.2d 357, 361 (7th Cir. 1992). Courts, of course, must

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engage in "a searching practical evaluation of the past and present reality" and can, after that

.evaluation, conclude that divergent voting patterns between black and white voters are better

explained by party affiliation instead of racial bloc voting. See,~ League of United Latin Am.

Citizens. Council No. 4434 v. Clements, 999 F.2d 831, 860-61 (5th Cir. 1993) (en bane).

        Dr. Barreto failed to provide Dr. Alford with the data files and EI procedures that Dr. Barreto

used to prepare his report. See [D.E. 39-7] 3. 12 Nonetheless, Dr. Alford reviewed Dr. Barreto's

report and attempted to "match as closely as possible the data and analysis assumptions described"

in Dr. Barreto's report. Id. Dr. Alford used the same EI methods as Dr. Barreto to analyze the same

elections as Dr. Barreto. See id at 3--6. Dr. Alford observes that Dr. Barreto ''provides no analysis

of Democratic primary elections, something that is commonly included" in these analyses. Id. at 5;

see, ~ id. at 46--50, 52-55 (Dr. Handley's report).

        Dr. Alford first analyzed the U.S. Senate elections in North Carolina in 2020 (featuring a

white Republican (Thom Tillis) against a white Democrat (Cal Cunningham)) andin2022 (featuring

a white Republican (fed Budd) against a black Democrat (Cheri Beasley)). See id. at 6--7. Dr.

Alford opined that black voters were "only three-tenths of one percent more supportive ofthe Black

Democrat compared to the White Democrat statewide (and support is similarly essentially identical

in the regional results)." Id. at 7. Moreover, white voters were ''not more likely to oppose a Black

Democrat compared to a White Democrat'' and were actually "slightly more supportive ofthe Black

Democrat in 2022 compared to the White Democrat in 2020." Id.


       12
           At the hearing on plaintiffs' motion for a preHminary injunction, plaintiffs explained that
the legislative defendants asked plaintiffs for Dr. Barreto's underlying Excel spreadsheet files.
Plaintiffs reported that the software package that Dr. Barreto uses does not produce those. Plaintiffs
directed the legislative defendants to Dr. Barreto's footnotes to find Dr. Barreto's input data from
publicly available sources and replicate Dr. Barreto's statistical methods. During discovery,
defendants are entitled to have Dr. Barreto produce his input data.

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       Next, Dr. Alford analyzed three 2020 state supreme court elections. See id. at 7-8. Two

elections featured white Republicans against white Democrats, and one election featured a white

Republican against a black Democrat. See id. at 8. Dr. Alford opined that black voters' support for

black Democrats and white Democrats was "essentially idential." Id. Moreover, white voters were

''not more likely to oppose a Black Democrat compared to a White Democrat." Id.

       Next, Dr. Alford analyzed five 2020 state appell~te court elections. See id. at 8-9. Three

elections featured white Republicans against white Democrats, one election featured a white

Republican against a black Democrat, and one election featured a black Republican against a white

Democrat See id Dr. Alford opined that the "almost exact similarity of the voting patterns" is

''notable." Id. at 9. The black Republican candidate received no more black voter support and no

less white voter support than the average white Republican.candidate. See id. The black Democratic

candidate received no more black voter support and no less white voter support than the average

white Democratic candidate. See id.

       Next, Dr. Alford analyzed all 2020 and 2022 elections. See id. at 9-13. Dr. Alford observed

that black voters were highly supportive of Democrats and white voters were supportive of

Republicans. See id. at 10. This observation comports ''with a polarized response to the party

affiliation indicated on the ballot." Id. The ''race of the candidates does not appear to have a

polarizing impact on vote choice" and is "essentially indetectable." Id.; see id. at 12-13.

       Dr. Alford opined that ''it is clear that Black voters cohesively support Democratic

candidates, and that the majority of White voters support Republican candidates." Id. at 13.

According to Dr. Alford, Dr. Barreto's analysis does not support the conclusion that black voters

support black candidates while white voters support white candidates. See id Dr. Alford concluded

that Dr. Barreto's analysis "clearly demonstrates that the party affiliation of the candidates is

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sufficient to fully explain the divergent voting preferences ofBlack and White voters in the 2020 and

2022 North Carolina elections." Id. at 15.

        Plaintiffs respond that minority-preferred candidates need not themselves be members ofthe

minority group. See [D.E. 42] 8; Lewis, 99 F.3d at 606. True. Dr. Alford, however, demonstrates

that when the model accounts for a candidate's race, partisanship better explains polarized voting

in North Carolina than race. In Charleston County. the Fourth Circuit affirmed the trial court's

rejection of Charleston County's argument that partisanship drove polarized voting because ''there

was no systematic proof to support [the county's] claim." Charleston Cnty., 365 F.3d at 352. The

trial court had found that in Charleston County, South Carolina, ''minority voters g[a]ve more

cohesive support to minority Democratic candidates than to white Democratic candidates." Id. at

353. The trial court also found that the opposite was true for white voters in Charleston County,

South Carolina. See id. The Fourth Circuit held that these trial court findings were not clearly

erroneous. See id.

        By contrast, Dr. Alford persuasively shows that black North Carolinians are not more likely

to support black Democratic candidates than white Democratic candidates. See, e.g., [D.E. 39-7]

7-10, 12-13. Dr. Alford also persuasively shows that white North Carolinians are not less likely to

support black Democratic candidates than white Democratic candidates. See,~ id. Accordingly,

on the current record, under the totality of circumstances, plaintiffs fail to show that the political

process "is not equally open to minority voters." Millig~ 599 U.S. at 18 (quotation omitted); see,

~- League of United Latin Am. Citizens, Council No. 4434, 999 F.2d at 860--61 (concluding that

plaintiffs failed to establish a Section 2 claim where the evidence ''unmistakably shows that

divergent voting patterns among white and minority voters are best explained by partisan

affiliation").

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        In analyzing the totality of the circumstances, the court notes that the General Assembly did

not enact SB 758 ina vacuum. In2003, the General Assembly enacted anew legislative redistricting

plan for the General Assembly that departed from the WCP. See Strickland, 556 U.S. at 7-8. The

Supreme Court of the United States and the Supreme Court of North Carolina held that Section 2

did not justify that departure. See id. at 23; Pender Cnty., 361 N.C. at 510,649 S.E.2d at 376. In

2011, the General Assembly again redistricted and hired an expert to conduct a polarized voting

study to determine North Carolina's obligations under Section 2. See Covington, 316 F.R.D. at

168-69. The expert concluded that voting was racially polarized in certain places in North Carolina;

therefore, the General Assembly drew 28 majority-black House and Senate districts in order to

comply with Section 2. See id. at 132-33, 142-65. In Covingtol!, in 2016, the three-judge court

enjoined North Carolina's 2011 legislative redistricting plan for the General Assembly, in part,

because there was no evidence of legally significant racially ·polarized voting. Thus, Section 2 did

not justify using race to draw majority-black districts. See id. at 167-74. The Supreme Court

,mmmarily affirmed the three-judge court's opinion. See North Carolina v. Covingto:u, 581 U.S.

1015 (2017).

       In Hams, in 2016, a three-judge court enjoined North Carolina's 2011 congressional

redistricting plan in part because there was no evidence of racially polarized voting in northeast

North Carolina that justified using Section 2 to engage in race-based districting and create a

majority-black congressional district in northeast North Carolina, including in the counties at issue

in this case. See Hams, 159 F. Supp. 3d at 611-15, 622-25. As the Hams court observed, ''the

composition and election results under earlier versions of CD 1 vividly demonstrate that, though not

previously a majority-BYAP district, the white majority did not vote as 3 bloc to defeat African-

Americans' candidate of choice." Id. at 625 (emphasis added). ''In fact, precisely the opposite

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occurred [in CDl]: significant crossover voting by white voters sup_ported the African-American

candidate." Id. (emphasis added). The Harris court then noted that Section 2 does not ''require racial

balkanization where, as here, citizens have not voted as racial blocs, [and] where crossover voting

has naturally occurred." Id.

       The Supreme Court in Cooper affirmed. See Cooper, 581 U.S. at 322-23. In affirming, the

Supreme Court upheld the three-judge court's finding, in relevant part, that the same portion of

northeast North Carolina at issue in this case had "a longtime pattern ofwhite crossover voting'' and

lacked evidence of "effective white bloc-voting" to defeat the African-Americans' candidate of

choice. Id at 304. AB the Supreme Court in Cooper observed, "electoral history [in CD 1] provided

no evidence that a § 2 plaintiff could demonstrate the third Gingles prerequisite-effective white

bloc-voting." Id. at 302. Moreover, with respect to the third Gingles precondition in northeast North

Carolina, the Supreme Court in Cooper rejected North Carolina's Section 2 defense to the majority-

black CD 1 as "downplay[ing] the significance ofwhite crossover voting in the area that would form

the core of redrawn [Congressional] District 1." Id. at 304 (cleaned up).

       In 2018, plaintiffs (represented by the same counsel representing plaintiffs in this case)

challenged the General Assembly's 2017 redistricting plan based on alleged partisan

gerrymandering. See Lewis, 2019 WL 4569584, at *1-2. In Lewis, the court restricted the General

Assembly's consideration of race during redistricting. See id. at *133. In 2021, the General

Assembly drew a new redistricting plan without using racial data. See N.C. League of Conservation

Voters, Inc. v. Hall, Nos. 21 CVS 15426, 21 CVS 500085, 2022 WL 124616, at *9 (N.C. Super. Ct.

Jan. 11, 2022) (unpublished), rev'd, Har;perv. Hall, 380N.C. 317,868 S.E.2d499 (2022) ("Hmper

I''), abrogated ~ Harper ill, 384 N.C. 292, 886 S.E.2d 393 (2023). Plaintiffs challenged that

redistricting plan as a partisan gerrymander. See id. at *1. The Supreme Court of North Carolina

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invalidated that redistricting plan for partisan gerrymandering. See Hamer I, 380 N.C. at 403--04,

868 S.E.2d at 559--60. In Hamer's remedial phase, the Supreme Court ofNorth Carolina concluded

that Section 2 liability would not arise from the General Assembly's remedial districts because

federal law "do[es] not require the General Assembly to create functioning crossover districts."

Ha.mer v. Hall, 383 N.C. 89, 124, 881 S.E.2d 156, 180 (2022) ("Hamer Ir'), withdrawn and
superseded on reh'g. Hatper Ill, 384 N.C. 292, 886 S.E.2d 393 (2023). The Supreme Court ofNorth

Carolina ultimately reheard Hamer, reversed its prior ruling, held that partisan gerrymandering

claims were not justiciable, and permitted the General Assembly to redraw North Carolina's

legislative and congressional districts in 2023. See Harper Ill, 384 N.C. at 378-79, 886 S.E.2d at

448-49. On October 25, 2023, the General Assembly responded to Hatper ill by enacting SB 758.

The General Assembly enacted SB 758 after it conducted public hearings across North Carolina and

accepted online comments. See [D.E. 39] 8-9.

       When the General Assembly enacted SB 758 in October 2023, state and federal courts had

repeatedly affirmed that the General Assembly must draw legislative districts without reference to

race because legally significant racially polarized voting did not exist in North Carolina.

Accordingly, the General Assembly did so. See, ~ [D.E. 39-5] 3-5 (invoking Harris and

Covington). In drawing the Senate, House, and Congressional redistricting plans in 2023, the

General Assembly used only ''political data, not racial data." Id. at 4.

       At this preUminary stage of the case, the totality of the circumstances do not support

plaintiffs' Section 2 claim or their request for a mandatory preHminary injunction to sort voters by

race in order to form a majority-black Senate district in northeast North Carolina. As noted, sorting

''voters on the basis of race" is "by [its] very nature odious." Wis. Legislature, 595 U.S. at 401.

Sorting voters based on the color of their skin risks "engaging in the offensive and demeaning

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assumption that voters of a particular race, because oftheir race, think alike, share the same political

interests, and will prefer the same candidates at the polls." Miller, 515 U.S. at 911-12 (cleaned up);

Harris, 159 F. Supp. 3d at 604. Anyone who wants to sort voters on the basis of race in a legislative

district must show ''that the design of [the] district withstands strict scrutiny." Wis. Legislature, 595

U.S. at 401. A party "can satisfy strict scrutiny if it proves that its race-based sorting of voters is

narrowly tailored to comply with the VRA." Id. On the current preJiminary and hotly contested

record, plaintiffs are not likely to succeed on the totality of the circumstances under Section 2.

        As the case progresses, the parties will be able to enjoy the benefit of written discovery,

depositions, and vigorous cross examination of the witnesses. At trial, the court will enjoy the

benefit of a more fulsome record. At present, plaintiffs have failed to demonstrate a likelihood of

success on their Section 2 claim.

                                                  IV.

        As for irreparable harm, ''plaintiffs seeking preJiminary relief [must] demonstrate that

irreparable injury is likely in the absence of an injunction." Winter, 555 U.S. at 22 (emphasis in

original). Plaintiffs contend that ''they will be irreparably harmed if they are forced to vote in a

district that dilutes their votes in violation of the VRA." [D.E. 17] 27.

        Plaintiffs are unlikely to succeed on the merits of their Section 2 claim. Accordingly,

plaintiffs fail to demonstrate they will suffer irreparable harm absent a preJiminary injunction against

SB 758 in the 2024 Senate elections. See, e.g.. Miranda v. Garland, 34 F.4th 338, 365 (4th Cir.

2022); League ofUnited Latin Am. Citizens v. Abbott, 601 F. Supp. 3d 147, 183 (W.D. Tex. 2022)

(three-judge court); Dhillon v. Wobensmitb, 475 F. Supp. 3d 456, 462 (D. Md. 2020);

Talleywhacker, Inc. v. Cooper, 465 F. Supp. 3d 523, 542 (E.D.N.C. 2020); Asian.turk v. Hott, 459

F. Supp. 3d 681, 700 (E.D. Va. 2020).

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                                                  V.
                                                  A.
        AB for the balance of equities and the public interest, "[t]hese factors merge when the

Government is the opposing party." Nken v. Holder, 556 U.S. 418,435 (2009); see Miranda, 34

F.4th at 365. Notwithstanding plaintiffs' failure to demonstrate that the General Assembly had a

strong basis in evidence for concluding in October 2023 that Section 2 required a majority-black

Senate district in northeast North Carolina, plaintiffs seek "an extraordinary remedy'' enjoining SB

758 for use in the 2024 Senate elections and mandating that the General Assembly redraw a new

Senate redistricting plan with a majority-black Senate district in northeast North Carolina for use in

the 2024 Senate elections. Winter, 555 U.S. at 24.

        "Crafting a preHminary injunction is an exercise ofdiscretion and judgment, often dependent

as much on the equities of a given case as the substance of the legal issues it presents." Trump v.

lnt'l Refugee Assistance Project, 582 U.S. 571, 579 (2017). When a court sits in equity, it "look[s]

to the practical realities and necessities inescapably involved in reconciling competing interests."

Lemon v. Kurtzman, 411 U.S. 192,201 (1973) (plurality opinion). In so doing, the court considers

that "equity ministers to the vigilant, not to those who sleep upon their rights." ~ 471 F. App'x

at 224 (quotation omitted); see Curtin v. Va State Bd. of Elections, 463 F. Supp. 3d 653, 659-60

(E.D. Va 2020).

        The court has considered these equitable principles and the practicalities of "sound . . .

legislative administration." Strickland, 556 U.S. at 17. Plaintiffs waited 26 days after the General

Assembly enacted SB 758 to file suit and 28 days to seek a preiiminary injunction concerning the

2024 elections. See [D.E. 23] 2. Plaintiffs then proposed a completely unreasonable schedule for

the court and the other parties. See id. After this court scheduled a hearing on plaintiffs' motion for

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a preHminary injunction, plaintiffs then filed an interlocutory appeal, which divested this court of

jurisdiction to act upon their motion for a preJiminary injunction. See [D.E. 44].

        Once the Fourth Circuit dismissed the interlocutory appeal but did not issue the mandate, the

court held a hearing on plaintiffs' motion for a preHminary injunction. See [D.E. 53]. The record

presented to the court for its consideration at the hearing reflected that neither plaintiffs nor anyone

else presented a strong basis in evidence to the General Assembly in 2023 that Section 2 required

a majority-black Senate district in northeast North Carolina. Likewise, after considering the

evidence that the parties presented concerning plaintiffs' motion for a preHminary injunction,

plaintiffs have failed to demonstrate that they are likely to succeed on the merits of their Section 2

claim or that they will suffer irreparable injury absent the requested mandatory preHminary

injunction. By contrast, "enjoining North Carolina (through its public officials) from enforcing [SB

758 in the 2024 Senate elections] would constitute a form of irreparable injury." Sharma v. Hirsch,

No. 5:23-CV-506, 2023 WL 7406791, at* 14 (E.D.N.C. Oct. 30, 2023) (unpublished); see Maryland

v. King. 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers); Lawv. ~ 641 F. Supp. 3d 580,

604 (S.D. Iowa 2022).

       Inequity would result if the court enjoined the use of SB 758 in the 2024 Senate elections.

Plaintiffs have failed to demonstrate that (1) the General Assembly had a strong basis in evidence

when it enacted SB 758 in 2023 that Section 2 required a majority-black Senate district in northeast

North Carolina or (2) they are likely to succeed on the merits of their Section 2 claim. Thus, the

balance of equities and the public interest weigh in favor of the legislative defendants and against

a mandatory preHminary injunction. See, e--&, N. Va. Hemp & Agric. LLC v. Vitginia, _         F. Supp.

3d__,2023 WL 7130853,at *13 (E.D. Va. Oct. 30,2023); S~2023 WL 7406791, at*14; see



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also Int'l Refugee Assistance Proj~ S82 U.S. at S79; Purcell, S49 U.S. at 4-6; Lemon, 411 U.S.

at 200--01; ~ 471 F. App'x at 224-28; ~ 463 F. Supp. 3d at 6S9--61.

                                                  B.
        Alternatively, even if the plaintiffs satisfied all three Gingles preconditions (and they have

not), demonstrated the totality ofthe circumstances under Section 2 weighed in their favor (and they

have not), and showed irreparable injury (and they have not), the Purcell principle teaches that a

federal court should not issue the requested mandatory federal preUminary injunction of North

Carolina's 2024 Senate elections. Under Purcell, "federal district courts ordinarily should not enjoin

state election laws in the period close to an election." Merrill, 142 S. Ct. at 879 (Kavanaugh, J.,

concurring); see Purcell, S49U.S. at4-6; Voinovich. S07U.S. at 1S2. The Purcell principle allows

elections to proceed and "provide[s] the courts with a better record on which to judge" the

challenged statute. Purcell, S49 U.S. at 6 (Stevens, J., concurring).

        The Purcell principle is not new. In Reynolds, plaintiffs moved to enjoin a primary election

that was over a month away. See Reynolds, 377 U.S. at S42. The three-judge district court "stat[ed]

its tentative views that an injunction was not required" before the primary election and, two weeks

later, declined to enjoin the primary before fully ruling on the merits of the case. Id. The Supreme

Court held that the district court "acted wisely in declining to stay the impending primary election."

Id. at S86.

        In Merrill, Justices Kavanaugh and Alito wrote that ''the Purcell principle requires that we

stay the District Court's injunction" where ''the primary elections begin (via absentee voting) just

seven weeks from now." Merrill, 142 S. Ct. at 879, 882 (Kavanaugh, J., concurring). The Supreme

Court has made clear that the Purcell principle is not just a yellow caution light for federal courts

considering an injunction against a redistricting plan when elections under the redistricting plan are

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imminent. In such circumstances, the Purcell principle is a heavy gate with flashing red lights

amplified by loud sirens reminding federal courts not to alter such a state redistricting plan in the

period close to a state election. Thus, the Supreme Court routinely stays such disruptive federal

injunctions in the period close to a state election. See, e-&, Merrill v. People First of Ala., 141 S.

Ct. 25, 25 (2020) (staying a September 30, 2020 injunction issued 34 days before the November

2020 elections); Andino v. Middleton, 141 S. Ct. 9, 9-10 (2020) (staying a September 18, 2020

injunction ahead of the November 2020 elections); id. at 10 (Kavanaugh, J., concurring) (invoking

the Purcell principle); Democratic Nat'l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31 (2020)

(Kavanaugh, J., concurring) (concurring in the denial of the application to vacate a stay of an

injunction entered ''just six weeks before the November [2020] election and after absentee voting

had already begun").

       "[l]t is the domain of the States, and not the federal courts, to conduct apportionment ...."

Voinovicb, 507 U.S. at 156. Thus, if a federal court were to decide to enjoin the use of SB 758 in

the 2024 Senate elections, the court ''must provide the North Carolina General Assembly with a

reasonable opportunity to draw remedial districts in the first instance." Covington, 316 F.R.D. at

177 (quotation omitted); see North Carolina v. Coyingto:11, 138 S.Ct. 2548, 2554--55 (2018) (per

curiam) ("[A] legislature's freedom of choice to devise substitutes for an apportionment plan found

unconstitutional, either as a whole or in part, should not be restricted beyond the clear commands

of federal law." (cleaned up)); Wise v. Lipscomb, 437 U.S. 535, 540 (1978).

       In this counterfactual scenario where a federal court enjoined the use of SB 758 for use in

the 2024 Senate elections and accepted plaintiffs' argument that the General Assembly would first

have to draw a majority-black VRA district in northeast North Carolina before drawing ''non-VRA

districts using other state-law redistricting principles and rules, including county grouping or

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clustering requirements" under Stephenson I, [D.E. 17] 15 (quotations omitted), then the General

Assembly could draw Demonstration District A as the remedial VRA majority-black district. Ifthe

General Assembly chose to enactDemonstrationDistrictAas a VRA-requiredmajority-black Senate

district, it would thereby remedy the alleged Section 2 violation and meet its obligation under the

Fourteenth Amendment to ensure that the remedy is narrowly tailored. See Shaw IL 517 U.S. at 917;

cf. [D.E. 39] 15; [D.E. 39-6] 7. 13 In this counterfactual scenario, the General Assembly would then

have to regroup the remajning 92 counties under Stephenson I and its progeny and redraw all other

Senate districts.

        As discussed, on December 15, 2023, candidate filing ended for the North Carolina primary

elections. See [D.E. 40] 1. On January 19, 2024, North Carolina's 100 county boards of elections

began distributing absentee ballots. See id. at 2. On February 15, 2024, in-person early voting

begins. See id. March 5, 2024, is primary election day. See id. at 1. Accordingly, absentee voting

throughout North Carolina already has begun. In-person early voting begins 20 days after the court

issues this order. Primary election day is just 39 days after the court issues this order.

       If a federal court were to issue a mandatory preiirninary injunction enjoining the use of SB

758 in the 2024 Senate elections and requiring the General Assembly to enact a new Senate

redistricting plan with a majority-black Senate district in northeast North Carolina, then county

boards of elections would have to discard completed absentee ballots, including the ballots of the

numerous North Carolina citizens in the United States military who are deployed overseas. The



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           Plaintiffs ask the court enjoin only ''use of Senate Districts 1 and 2 in the 2023 enacted
map, and order use of Plaintiffs' proposed remedial districts (Demonstration Districts B-1 and B-2)
instead." [D.E. 17] 31. The court, however, may not circumscribe the General Assembly's ''freedom
of choice" when it draws remedial districts. Covington. 138 S.Ct. at 2554--55; see Wise, 437 U.S.
at 540.

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Board would have to conduct its geocoding process again to reassign voters to the proper districts.

See [D.E. 41] ft 4-5, 10. Candidates would have to refile. See id. at 1 10. The Board would have

to regenerate and proofnew ballots, which "is complex and involves multiple technical systems and

quality-control checkpoints" including ''preparation and proofing ofofficial ballots, certified vendors

printing and delivering those ballots to the county board offices, and county board staff creating

outgoing absentee ballot packages." Id. at 16. The Board would also have to redistribute those new

ballots. See id. The Board would have to move March primary elections to May or later and create

a new runoff date in July or August. See id. at ft 12-13; cf. [D.E. 40] 3-4. A new Senate

redistricting plan would adversely affect the ongoing 2024 Senate elections in numerous primary

elections across North Carolina. Thus, Purcell teaches that a federal court should not issue a

mandatory federal injunction against SB 758 for the 2024 Senate elections. See, e..&, Purcell, 549

U.S. at 4--6; Merrill, 142 S. Ct. at 879, 882 (Kavanaugh, J., concurring).

       Notably, on December 19, 2023, Comm.on Cause and the North Carolina NAACP filed a

lawsuit in the United States District Court for the Middle District of North Carolina alleging,

inter ali~ the General Assembly violated federal law by drawing various House and Senate districts,

including SDl and SD2. See N.C. State Conf. of the NAACP v. Berger, No. 1:23-cv-1104

(M.D.N.C. Dec. 19, 2023), [D.E. 1] ft 138-45. Plaintiffs in that suit did not seek a mandatory

preHminary injunction to change the House and Senate district boundaries for the 2024 elections.

That suit provides additional evidence that, under Purcell, a federal court should not issue mandatory

preHminary injunctive relief in this case because the case comes too late to justify mandatory

preHminary injunctive relief in North Carolina during the 2024 Senate election cycle.

       In opposition to this conclusion, plaintiffs contend that ''in the last two North Carolina

election cycles, maps were :finalized within 24 hours before----or on the day of-candidate filing."

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[D.E. 17] 28. Plaintiffs also contend the court could ''pause or postpone the candidate filing

deadline" or delay the March 2024 Senate primary elections in North Carolina See id. at 28-29.

North Carolina state courts, however, issued the orders plaintiffs cite to support their argument. See

id. By contrast, "Purcell is about federal court intervention," not state court intervention. Wise, 978

F.3d at 99 (emphasis in original). Accordingly, the court rejects this argument.

        At oral argument, plaintiffs also argued that their proposed remedy involving Demonstration

Districts B-1 and B-2 would affect only two Senate districts. Cf. [D.E. 17] 31. Thus, according to

plaintiffs, Purcell should not apply if the General Assembly affirmatively chooses to adopt

Demonstration District A and redraw the entire Senate redistricting plan.

        Plaintiffs misunderstand Purcell and its progeny. Plaintiffs concede that if a federal court

enjoined the use of SB 758 in the 2024 Senate elections, the court must give the General Assembly

the first opportunity to redraw state Senate districts, including any majority-black Senate district in

northeast North Carolina that Section 2 requires. See Voinovich, 507 U.S. at 156; Wise, 437 U.S.

at 540; Covington, 316 F.R.D. at 177. Therefore, under plaintiffs' reading of Ste_phenson I, the

General Assembly would have the discretion to draw new Senate districts after drawing the one

VRA-mandated majority-black Senate district. See Ste_phenson I, 355 N.C. at 383-85, 562 S.E.2d

at 396--98. As discussed, the General Assembly could choose to enact Demonstration District A as

its remedial majority-black Senate district. If it did, the root cause of any ensuing upheaval would

be the federal court injunction prohibiting the use of SB 758 in the 2024 Senate elections and

requiring the General Assembly to remedy an alleged Section 2 violation in northeast North Carolina

for the 2024 Senate elections. Such a federal court injunction would be a textbook violation of

Purcell. See, e.g.. Purcell, 549 U.S. at4--6; Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring);



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Wise, 978 F.3d at 99. After all, absent the federal court injunction, the 2024 Senate elections in

North Carolina would continue to proceed as they are currently proceeding and without disruption.

                                                   C.
        Alternatively, even if plaintiffs had demonstrated that they were likely to succeed on the

merits of their Section 2 claim (and they have not) and even if the General Assembly chose just to

rearrange the Senate district boundaries within the 18 counties encompassing SD 1 and SD2 in

response to a federal court injunction (and it need not), such a federal court mandatory preHminary

injunction also would violate the Purcell principle. If a federal court were to enter a mandatory

pre1iminary injunction concerning SB 758 for the 2024 Senate elections, the General Assembly could

choose to configure the remedial majority-black Senate district differently than plaintiffs'

Demonstration Districts B-1 andB-2, or the General Assembly could choose to enact Demonstration

Districts B-1 and B-2. See, e...&, Covington, 138 S.Ct. at 2554-55; Wise, 437 U.S. at 540. Either

way, the Board would have to reassign voters and candidates would have to refile, which could result

in contested primaries in the two new Senate districts. See [D.E. 41] ,i,r 4, 5, 10. The Board would

have to generate, proof, and distribute new ballots. See id. at ,r 6, 11. The Board would have to

schedule any contested primary elections in these districts in May 2024 or later. See id. at ,i,r 12-13;

cf. [D.E. 40] 3-4. If a runoff were needed, the Board would have to schedule and hold a special

election in July or August 2024. Cf. [D.E. 41] ,r 15. The federal court injunction would be the cause

of all this disruption.

        The Purcell principle teaches that a federal court should not sow such chaos and voter

confusion in Senate elections within the 18 North Carolina counties encompassing SDl and SD2.

Moreover, such a federal courtpreJiminary injunction (which would require scheduling new primary

elections and setting a special runoff election if needed) would contradict the Supreme Court's

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repeated and clear admonition against a federal court ordering special elections absent a compelling

justification. See Covington, 581 U.S. at 488-89. Accordingly, even if plaintiffs were likely to

succeed on their Section 2 claim (and they are not) and even if the General Assembly were to limit

its remedy in 2024 to the counties within SD 1 and SD2 (and it need not), the court rejects plaintiffs'

arguments concerning Purcell. Instead, this court heeds Purcell's heavy gate, blaring sirens, and

flashing red lights and declines to sow chaos and voter confusion in North Carolina given that the

2024 Senate elections are underway. See, e...g., Purcell, 549 U.S. at 4-6; Merrill, 142 S. Ct. at 880

(Kavanaugh, J ., concurring).

                                                   D.
        Finally, plaintiffs contend that "even where Purcell applies, it 'might be overcome ... if a

plaintiff establishes at least the following: (i) the underlying merits are entirely clearcut in favor of

the plaintiff; (ii) the plaintiff would suffer irreparable harm absent the injunction; (iii) the plaintiff

has not unduly delayed bringing the complaint to court; and (iv) the changes in question are at least

feasible before the election without significant cost, confusion, or hardship."' [D.E. 17] 30 (quoting

Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring)).

        On the current record, the underlying merits of plaintiffs' Section 2 claim are not "entirely

clearcut in favor of the" plaintiffs. Rather, plaintiffs are unlikely to succeed on the merits of their

Section 2 claim and would not suffer irreparable harm absent the requested mandatory preHminary

injunction. Moreover, plaintiffs unduly delayed bringing this case by waiting 26 days after the

General Assembly enacted SB 758 to file suit and waiting 28 days after the General Assembly

enacted SB 758 to seek a preHminary injunction. "[E]quity ministers to the vigilant, not to those

who sleep upon their rights." Texaco P.R., Inc. v. De_p't of Consumer Affs., 60 F.3d 867, 879 (1st

Cir. 1993). Furthermore, as discussed, any remedial changes to North Carolina's 2024 Senate

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districting plan at this stage would come with extraordinary cost, confusion, and hardship. See. e&,

Purcell, 549 U.S. at 4-6; Merrill, 142 S. Ct. at 881-82 (Kavanaugh, J., concurring). The Purcell

principle controls. Thus, the balance of equities and public interest weigh against a federal court

issuing the requested mandatory preHminary injunction.

                                                   E.
        On December 12, 2023, the Solicitor General of North Carolina filed a motion for leave to

file an amicus brief on behalf of Governor Roy A. Cooper, ill and Attorney General Joshua H. Stein

in support of plaintiffs' motion for a preHminary injunction [D.E. 31]. The accompanying brief

[D.E. 32] recounts the self-evident political interest that Governor Cooper and Attorney General

Stein have in the requested mandatory preHminary injunction. The brief, however, adds no new

evidence concerning the legal issues. For example, the brief does not contain any contemporaneous

correspondence that Governor Cooper, Attorney General Stein, or the North Carolina Solicitor

General sent to the General Assembly before it enacted SB 758 explaining why they believed that

a strong basis in evidence existed to group citizens by race in northeast North Carolina in order to

create a majority-black Senate district. Likewise, as for the legal analysis, the brief merely parrots

the conclusions in the plaintiffs' brief and fails to provide any legal analysis or to grapple with the

profound deficiencies in plaintiffs' efforts to establish the Gingles preconditions or the totality ofthe

circumstances under Section 2. The brief also fails to grapple with Covington or Harris and the

findings in 2016 that white voters in North Carolina (including in the relevant counties in northeast

North Carolina) do not ''vote as a bloc to defeat African-Americans' candidate of choice." Harris,

159 F. Supp. 3d at 625; see Covington, 316 F.R.D. at 142, 167-74. Although the court grants

Governor Cooper's and Attorney General Stein's motion to file an amicus brief, the court rejects

their arguments as factually and legally unsupported.

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                                                VI.

       In sum, the court GRANTS the motion of Governor Roy A. Cooper, ID and Attorney General

Joshua H. Stein to file an ~cus brief [D.E. 31] and DENIES plaintiffs' motion for a preJiminary

injunction [D.E. 16]. The parties SHALL meet and confer. The parties SHALL submit a proposed

scheduling order no later than February 16, 2024. Ifthe parties cannot agree on a proposed schedule,

the joint submission shall contain the proposed schedule of each party for each topic in the

scheduling order.

       SO ORDERED. This J.k. day of January, 2024.

                                                         ~        'bet"'-• l:,
                                                        JSC.DEVERID
                                                        United States District Judge




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